                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

TEXAS LEAGUE OF UNITED LATIN                    §
AMERICAN CITIZENS,                              §
                                                §
and                                             §
                                                §
NATIONAL LEAGUE OF UNITED                       §
LATIN AMERICAN CITIZENS,                        §
                                                §
and                                             §
                                                §
JULIE HILBERG, individually and on              §
behalf of others similarly situated,            §
                                                §   CIVIL ACTION NO. 5:19-CV-00074-FB
      Plaintiffs,                               §
                                                §
v.                                              §
                                                §
DAVID WHITLEY, in his official capacity         §
as Secretary of State for the State of Texas,   §
                                                §
and                                             §
                                                §
KEN PAXTON, in his official capacity as         §
Attorney General for the State of Texas,        §
                                                §
      Defendants.                               §


   DEFENDANTS TEXAS SECRETARY OF STATE DAVID WHITLEY, TEXAS
ATTORNEY GENERAL KEN PAXTON, TEXAS GOVERNOR GREG ABBOTT, AND
KEITH INGRAM’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW




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                                           INTRODUCTION

        1.      Defendants Texas Secretary of State David Whitley, Texas Attorney General Ken

Paxton, Texas Governor Greg Abbott, and Keith Ingram, in their official capacities, respectfully

submit the following Post-Preliminary Injunction Hearing Proposed Findings of Fact and

Conclusions of Law:

        2.      State and federal law require the Texas Secretary of State to assist county election

officials in maintaining the accuracy of Texas’s voting rolls. To that end, the Texas Legislature

has mandated that the Texas Department of Public Safety (“DPS”) share information with the

Secretary of State for the express purpose of attempting to identify non-citizens who are registered

to vote. The Secretary of State does not investigate voter eligibility or cancel a voter’s registration

for non-citizenship, however, as that authority lies solely with the county election officials. Rather,

the Secretary’s role is limited to providing guidance and information to the counties to ensure that

only eligible citizens can cast ballots.

        3.      Consistent with his clear statutory duty, former Secretary of State Rolando Pablos

began working with DPS in March 2018 to obtain data regarding the citizenship of individuals at

the time they applied for Texas driver’s licenses or identification cards so that it could be compared

to the list of registered voters. On January 25, 2019, Secretary of State David Whitley’s office

provided counties the names of the registered voters who had presented evidence of non-

citizenship when they obtained a driver’s license or identification card. In doing this, his office

carefully described the nature of the information, and the limitations on counties’ ability to cancel

voter registrations based on that information:

        All records submitted through this process will need to be treated as WEAK
        matches, meaning that the county may choose to investigate the voter, pursuant to
        Section 16.033, Election Code, or take no action on the voter record if the voter
        registrar determines that there is no reason to believe the voter is ineligible. The

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       county may not cancel a voter based on the information provided without first
       sending a Notice of Examination (Proof of Citizenship Letter) and following the
       process outlined in the letter. In order to help counties, make a determination
       regarding whether or not to send a Notice of Examination or close the task without
       taking further action, information provided by DPS will be provided to each county
       for further review and comparison against the voter record.

LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 2 (emphasis in original).

       4.      Secretary Whitley has now been sued for fulfilling his statutory obligation.

Plaintiffs also name Texas Attorney General Ken Paxton and Texas Governor Greg Abbott as

defendants. Plaintiffs allege that Attorney General Paxton did nothing other than send out a press

release and other communications confirming that he plans to fulfill his duty to investigate claims

of voter fraud. Similarly, Plaintiffs allege only that Governor Greg Abbott commented about the

matching process on Twitter. Thus, Plaintiffs ask this Court to enter an injunction that would

prevent State officials from performing their roles as required by the Texas Constitution, Texas

statutes, and federal law.

       5.      Defendants Texas Secretary of State Whitley, Attorney General Paxton, and

Governor Greg Abbott respectfully request that the Court adopt their proposed Findings of Fact

and Conclusions of Law in their entirety. Defendants are not responsible for canceling any voter’s

registration for non-citizenship. That role belongs to the counties. Moreover, no eligible voters

have been removed from the rolls as a result of the Election Advisory. If Plaintiffs receive a notice

of examination, they can prevent cancellation by proving their citizenship at any time after

receiving the notice. Citizens can contest cancellation should it occur, and county registrars must

add their names back on the rolls if they were wrongfully canceled. Further, if a citizen’s

registration is canceled, their registration is required to be reinstated immediately if they present

proof of citizenship to the voting registrar. This can happen at any time, including on election day

if a citizen discovers this cancellation when casting a ballot. Thus, Plaintiffs have not suffered an

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injury that is fairly traceable or redressable by an injunction against the Defendants, and therefore

Plaintiffs lack standing.

                               PROPOSED FINDINGS OF FACT

I.      TEXAS ELECTIONS SYSTEM

       6.      Secretary Whitley’s constitutional role requires him to assist county election

officials in maintaining Texas’s voting rolls. See, e.g., Tex. Const. art. 4, § 21; Tex. Elec. Code §

31.001.; Trial Tr. at 295:9-16.

       7.      Secretary Whitley’s Elections Division provides assistance and advice to election

officials and the general public on the proper conduct of elections, including hosting seminars and

election schools, providing calendars, prescribing forms, certifying ballots, funding primary

elections, and providing legal interpretations of election laws to election officials. See, e.g., Tex.

Elec. Code §§ 31.004 (duty to provide assistance and advice to all election authorities), 31.005

(authority “to protect the voting rights of the citizens of this state”), 31.0055 (duty to maintain a

voting-rights hotline), 31.006 (duty to refer complaints alleging criminal conduct to the Attorney

General).

       A. Local Election Officials Have the Exclusive Authority to Decide Whether to
          Investigate Any Voter for Non-Citizenship


       8.      Local election officials in Texas are charged with conducting elections and

maintaining voter rolls. See, e.g., id. § 12.001 (designating a local official as the voter registrar).

Each county can assign the duties of the voter registrar to the county clerk, an elections

administrator, or the tax assessor-collector. See id. Each registrar is authorized by statute to use

any lawful means to investigate registration eligibility. Id. § 16.033. And only the registrar—that




                                                  7
is, the local election official—can cancel any individual’s voter registration after such

investigation. See id. §§ 16.031-.0332.

       B. Voters Have the Ability to Cure Any Notice of Examination

       9.      The process for cancelling a voter’s registration is codified in statute and entails a

number of protections to ensure that eligible voters do not forfeit the right to vote. The registrar

must first investigate whether the registered voter is currently eligible to vote. Tex. Elec. Code

§ 16.033. The law further directs the registrar to take certain actions if he or she “has reason to

believe that a voter is no longer eligible for registration.” Id. § 16.033(b).

       10.     The registrar is not permitted to cancel a voter’s registration before notifying the

voter, in writing and sent by forwardable mail to the voter’s mailing address and any other

addresses known to the registrar, that the voter’s registration status is under investigation. Id. The

notice of examination, as it is called, must specify what information is needed to determine the

voter’s eligibility. Id. § 16.033(c)(1). And the notice must advise the recipient that the requested

information must be received within thirty days or the voter’s registration will be subject to

cancellation. Id. § 16.033(c)(2).

       11.      In the event that a voter’s registration is investigated because the registrar has

reason to believe that the voter is a non-citizen, the notice of examination will ask for proof of

citizenship. Id. A voter may prove his or her citizenship by submitting a birth certificate, United

States passport, certificate of naturalization, or any other form prescribed by the Secretary of State.

Id. § 16.0332(a). And, state law allows voters to submit responsive documentation by “personal

delivery, mail, telephonic facsimile machine, or any other method of transmission.” Id. § 1.007(c).

State law requires the registrar to cancel a voter’s registration if the registrar determines that the

voter is ineligible based on the voter’s reply to the notice of examination. Id. § 16.033(d).



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       12.     Registration is automatically cancelled if the voter does not respond within 30 days

of the notice, or if the notice is returned undeliverable with no forwarding information available.

Id. But a voter whose registration is cancelled could still submit proof of citizenship and be

reinstated immediately by the registrar. Id. § 16.037(a), (d).

       13.     Voters whose registration is cancelled can also request a hearing with the registrar.

Id. § 16.061. Upon submitting a signed request for a hearing, an individual’s voter registration is

reinstated and a hearing is scheduled within 10 days. Id. §§ 16.037, 16.064. At the hearing, the

voter may appear personally or submit an affidavit without appearing. Id. § 16.064. And if the

voter disagrees with the registrar’s determination at the hearing, the voter can seek judicial review

of the decision, during which time any cancellation of the individual’s voter registration is delayed.

See id. § 17.005. Only after a district court rules on the appeal is an individual finally subject to

cancellation of their voter registration. See id. § 17.008.

       C. Any Voter Who is Eligible and Who Neglects to Cure May Still be Immediately
          Reinstated and Vote a Regular Ballot or May Cast a Provisional Ballot Should
          Their Local Election Officials Incorrectly Cancel Their Voter Registration

       14.     An individual whose voter registration is cancelled can vote a regular ballot if he

or she presents proof of citizenship before or at the time of voting, or may cast a provisional ballot.

Election officials at polling locations must provide provisional ballots to voters who claim to be

eligible voters but whose names are not on the list of registered votes. 52 U.S.C. § 21082 (requiring

provisional ballots); Tex. Elec. Code § 63.011 (same); 1 Tex. Admin. Code § 81.172(a)(5) (same).

The voter can submit proof of citizenship to the registrar and be reinstated immediately or at any

time before the provisional ballots are counted. Tex. Elec. Code § 16.037(d). Upon receipt of the

necessary documentation, the registrar would note that the voter was erroneously removed from

the rolls, 1 Tex. Admin. Code § 81.175(c)(4)(E), and restore him or her to the rolls, id. §



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81.175(c)(7) (“For purposes of voter registration, the copied Provisional Ballot Affidavit Envelope

serves as an original voter registration application or change form.”).

       15.     The Office of Attorney General (OAG) has statutory authority to investigate and

prosecute election offenses statewide. Tex. Elec. Code §§ 273.001, 273.021. These offenses

include the misdemeanor offense of unlawful registration, id. § 13.007, and the felony offense of

illegal voting, id. § 64.012. OAG can investigate election matters on its own initiative. Id. §

273.001(b). OAG can also receive notices of unlawful voting from registrars, id. §§ 15.028,

273.001(c), and referrals of election-related complaints from the Secretary of State, id. §

273.001(d). OAG does not have statutory authority to conduct list maintenance or remove

registered voters from voter rolls. See id. §§ 273.001 et seq.

II.     ELECTION ADVISORY NO. 2019-02

       16.     The Texas Legislature safeguards voting rights by equipping state and local

officials with tools to stop voter fraud. See, e.g., 42 U.S.C. § 1973gg-3(b) (explaining that

confirming accurate voter registration “protect[s] the integrity of the election process”). The

Commission on Federal Election Reform chaired by former President Jimmy Carter and former

Secretary of State James A. Baker III noted that measures to ensure accurate voter registration lists

are necessary because “[t]he electoral system cannot inspire public confidence if no safeguards

exist to deter or detect fraud.” Building Confidence in U.S. Elections § 2.5 at 18 (Sept. 2005),

available at https://www.eac.gov/assets/1/6/Exhibit%20M.PDF. And the Supreme Court has

stated that the protection of election integrity “is not a deficiency in the democratic system but a

necessary consequence of the community’s process of political self-definition.” Cabell v. Chavez-

Salido, 454 U.S. 432, 439 (1982).




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        17.    Texas law requires a matching process to ensure the accuracy of the voter rolls. As

the supervisor of this process, the Secretary of State is required to “periodically compare the

information regarding voters maintained as part of the statewide computerized voter registration

list to determine whether any voters have more than one voter registration record on file.” Id.

§ 18.0681. And as part of the matching process, the Secretary is further instructed to create

matching criteria that “produce the least possible impact on Texas voters; and fulfill [the

Secretary’s] responsibility to manage the voter rolls.” Id. § 18.0681(b). Finally, the law provides

guidance based on whether the matches are “weak” or “strong.” Relevant here, the Secretary “may

inform the county of the voter’s residence that a weak match exists.” Id. § 18.0681(c).

        18.    In March 2018, former Secretary of State Pablos began working with DPS to obtain

information about non-citizen holders of driver’s licenses or personal identification cards.

LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 1. DPS is required to share such records

in connection with the Secretary’s duty to administer elections and maintain accurate voter

registration lists. Tex. Trans. Code § 730.005(9). The Secretary of State’s office and DPS worked

together to disseminate information using the strongest matching criteria to “produce the least

possible impact on Texas voters.” Tex. Elec. Code § 18.0681(b); LULAC-1, Garibay 1, MOVE

TX 2, Election Advisory, at 1. For example, the information was limited to individuals with active

DPS driver’s licenses or identification cards who provided documentation to DPS showing they

were non-citizens within the last six years. LULAC-1, Garibay 1, MOVE TX 2, Election Advisory,

at 1.

        19.    After the matching process was complete, Secretary Whitley provided information

related to the matches to the voter registrar in each applicable county. In his advisory to registrars,

Secretary Whitley emphasized that the sharing of the voter data obtained from DPS did not change



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or modify the registrar’s rights and responsibilities under the Texas Election Code. Id. Secretary

Whitley cited the statutory provision authorizing the registrar to investigate based on a reasonable

belief that a voter is no longer eligible for registration. Id. (citing Tex. Elec. Code § 16.033(b)).

And he pointed to the legislatively provided framework for conducting these investigations, noting

that the notice should be delivered by forwardable mail and that non-responses within the

prescribed period and notices returned as non-delivered would result in the voter’s removal from

the rolls. Id. at 1-2 (citing Tex. Elec. Code § 16.033(c)-(d)).

        20.     Secretary Whitley underscored the point that the purpose of the information sharing

was to expand the data set available to the registrars. Id. at 1. As state law makes clear, the registrar

is ultimately responsible for determining whether there is a reasonable basis for investigating a

voter’s eligibility. Id. Secretary Whitley noted that the matches should be treated as “weak”

matches—again, even though the matching criteria itself was robust—and advised the registrars

accordingly that they may choose to investigate or take no action at all. Id. at 2. Secretary Whitley

issued a statement indicating that “[i]ntegrity and efficiency of elections in Texas require accuracy

of our state’s voter rolls, and my office is committed to using all available tools under the law to

maintain an accurate list of registered voters.” LULAC-2, Garibay 3, MOVE TX 2, Secretary

Whitley Issues Advisory on Voter Registration List Maintenance Activity, at 1.

        21.     Attorney General Paxton issued a statement in response to Secretary Whitley’s

election advisory, noting that “[n]othing is more vital to preserving our Constitution than the

integrity of our voting process, and my office will do everything within its abilities to solidify trust

in every election in the state of Texas.” LULAC-3, Garibay 40, Paxton Press Release, at 1.

        22.     An individual must be a United States citizen to vote in Texas. Tex. Elec. Code

§ 11.002(a)(2). By statute, personal information contained in DPS motor vehicle records must be



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disclosed to the Secretary of State and used “in connection with any matter of . . . voter registration

or the administration of elections by the secretary of state.” Tex. Transp. Code § 730.005(9); see

also id. § 521.044(a)(6) (separately authorizing disclosure of social security number information).

The Texas Legislature has manifested its intent that this information be used to ensure the integrity

of Texas’ voter rolls. The bill requiring DPS to disclose motor vehicle data to the Secretary of

State—codified under section 730.005 of the Texas Transportation Code—was enacted in 2013.

The law passed the Texas Senate unanimously and secured approval in the Texas House by a

broadly bipartisan vote of 123 to 14. Acts 2013, 83rd Leg., ch. 1012 (H.B. 2512).

        23.    The leaders of the Texas Democratic Party and the Republican County Chairs

Association testified in favor of the bill. Tex. B. Ann., H.B. 2512 (May 3, 2013). The bill’s

supporters explained that the Secretary of State’s office is “required to maintain the accuracy of

the voter rolls and does not currently have all the necessary tools at its disposal.” Id. They

contended that the bill’s purpose was to help solve that deficiency. By requiring DPS to share the

personal data that it receives when individuals apply for driver’s licenses and personal

identification cards, they maintained, the bill would “improve accuracy in verifying the voter

rolls.” Id.

        24.     Pursuant to this legislative directive, Secretary Whitley obtained from DPS

information “regarding individuals who provided documentation to DPS showing that the person

is not a citizen of the United States during the process of obtaining or acquiring a Texas Driver

License or Personal Identification Card.” LULAC-1, Garibay 1, MOVE TX 2, Election Advisory,

at 1. Looking at data only from “current (unexpired) Driver License and Personal Identification

cards” that met matching criteria described in the Election Advisory, Secretary Whitley compiled

the list of individuals registered to vote who had previously been determined by DPS not to be



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citizens. Id. Secretary Whitley did not tell the counties that any individual on the list was an

illegally registered voter. The Election Advisory stresses that “counties are not permitted, under

current Texas law, to immediately cancel the voter as a result of any non-U.S. Citizen matching

information provided.” Id. at 2-3. The Election Advisory unequivocally advises the registrar to

“determin[e] whether or not the information provides the registrar with reason to believe the person

is no longer eligible for registration.” Id. at 2. The registrar must treat all records submitting via

this process “as WEAK matches, meaning that the county may choose to investigate the voter,

pursuant to Section 16.033, Election Code, or take no action on the voter record if the voter

registrar determines that there is no reason to believe the voter is ineligible.” Id. at 2 (emphasis

added). 1 That is despite those same matching criteria justifying an automatic transfer of
         0F




registration among counties in certain circumstances. Tex. Elec. Code § 18.0681. The Election

Advisory makes clear, however, that county voter registrars who received the data from this

matching process are not required to conduct any investigation “if they do not believe that a voter

is ineligible to vote.” LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 3. And if a voter

registrar does choose to investigate, they have “the right to use any lawful means to investigate

whether a registered voter is currently eligible.” Id. at 2. As with other list-maintenance activities,

this is an iterative process involving collaboration between the State and counties to assist counties

in fulfilling their investigative role.

         25.      This matching process is an effort to provide additional information to voter

registrars throughout the State—at the behest of the Legislature—to help election officials

discharge their obligations to safeguard the integrity of the State’s voter rolls by preventing


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 See also Election Advisory at 3 (“For the matching notifications originating from DPS data, the [registrar] has the
choice to either . . . Send a Proof of Citizenship Letter (Notice of Examination) to the voter; thereby starting the 30-
day countdown clock before cancellation, or . . . Take no action on the voter record and simply close the task as
RESOLVED.”) (emphases added).

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ineligible persons from casting votes. As described above, this process of investigating citizenship

status is mandated by statute and affords the individuals at issue ample opportunity to provide the

necessary documentation to prove that they are eligible voters. See Tex. Elec. Code § 16.0332.

Accordingly, the Election Advisory does not mandate that any action be taken against any voter.

It merely outlines the process by which DPS data will be shared with local election officials, and

leaves to them the decision whether to investigate any particular voter.

III.     PLAINTIFFS HAVE NOT ESTABLISHED SUFFICIENT EVIDENCE TO PROVE
         THEY ARE ENTITLED TO INJUNCTIVE RELIEF

         A. The Individual Plaintiffs Lack Standing.

         26.   Plaintiff Hilberg is a U.S. citizen and Texas resident. LULAC First Am. Compl. ¶

19; Trial Tr. 218:12-218:15, 219:14-221:1. She became a naturalized citizen in 2015 and voted in

the 2016 and 2018 elections. LULAC First Am. Compl. ¶ 19; Trial Tr. 219:14-221:1. Hilberg

testified that after Secretary Whitley’s advisory, she became concerned based on the date she

received her driver’s license that she may be among the voters who provided documentation to

DPS indicating that she was a non-citizen. Id. ¶¶ 66, 71; Trial Tr. 219:14-221:1. She spoke with

the election administrator in her county and was informed that her name was on the DPS list. Id. ¶

72; Trial Tr. 223:14-223:23. Hilberg has not received a 30-day letter, and her elections

administrator knows that she is a citizen. Trial Tr. 231:11-231:24. She admitted that she was aware

that she could verify by email her citizenship status, were she to get a 30-day letter. Id. at 232:14-

233:5.

         27.   The remaining Individual Plaintiffs, Julieta Garibay, Nivien Saleh, Jane Doe #1,

Jane Doe #2, Jane Doe #3, John Doe, Elena Keane, Maria Felicitas Barbosa, Martine Hummel,

Hilda Castillo, Maria Yolisma Garcia, Lorena Tule-Romain, Abraham Josue Espinosa Flores,

Viridiana Tule Carrizales Efren A. Gomez, assert that they are naturalized U.S. citizens and

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registered Texas voters. MOVE First Am. Compl. ¶ 28; Garibay Third Am. Compl. ¶ 8-18; Trial

Tr. 626:1-626:2. They claim that they are injured because they were allegedly identified by the

matching process or they received a Notice of Examination requesting a response within the

prescribed period. Trial Tr. 626:2-626:6; MOVE TX First Am. Comp1. ¶ 28; Garibay Third Am.

Compl. ¶ 8-18. None of the individual plaintiffs have had their registration cancelled nor have any

of them been removed from the voter rolls. MOVE TX First Am. Comp1. ¶ 28; Garibay Third

Am. Compl. ¶ 8-18; Trial Tr. 232:14-233:5. Secretary Whitley simply provided county registrars

with additional information obtained information from DPS pursuant to a mandatory disclosure

statute. Tex. Trans. Code § 730.005; see also Trial Tr. 305:2-19, 306:25-307:20; 540:17-24. He

did not direct registrars to remove a single voter from the voter rolls based solely on the data

provided. Trial Tr. 61:1-22; 62:9-13; 66:2-19; 67:9-68:21; 69:8-70:2; 71:7-16; 100:5-13; 116:16-

117:1; 117:11-118:12; 119:8-13; 123:11-20; 124:3-8; 124:15-18; 135:24-136:10; 334:10-15;

340:23-342:21; LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 1; LULAC-2, Garibay

3, MOVE TX 2, Whitley Press Release, at 1.

       28.     The individual plaintiffs ask this Court to declare unlawful the matching process

and Defendants’ public statements about data derived as a result of that process, and to prevent

Defendants or election officials from taking any action based on Secretary Whitley’s advisory.

Trial Tr. 592:1-592:13, 597:17-597:21, 616:23-622:24. However, Secretary Whitley’s advisory

and Defendants’ related statements did not direct local election officials to take any action. See Pl.

Exs. LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 1; LULAC-2, Garibay 3, MOVE

TX 2, Whitley Press Release, at 1, LULAC-3, Garibay 40, Paxton Press Release, at 1, and LULAC-

6, Garibay 6, Paxton Tweet; Trial Tr. 61:1-22; 62:9-13; 66:2-19; 67:9-68:21; 69:8-70:2; 71:7-16;

100:5-13; 116:16-117:1; 117:11-118:12; 119:8-13; 123:11-20; 124:3-8; 124:15-18; 135:24-



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136:10; 331:23-332:4; 334:10-15; 340:23-342:21. With or without Defendants’ public statements

and the Secretary’s advisory, the registrars can still make an independent determination of whether

to investigate the eligibility of voters across the state, including the Individual Plaintiffs. Id.

        B. The Organizational Plaintiffs Lack Standing.

        29.     The Organizational Plaintiffs claim that they will be injured because they will have

to devote resources to educating members about the matching process. Garibay Mem. Supp. TRO

at 29; MOVE TX Motion for Prelim. Inj. at 13-14; LULAC Motion for Prelim. Inj. at 10. However,

if they were approached by individuals, they would merely have to provide education on the law

of Texas. Trial Tr. 241:12-245:20. As already stated, the disclosure and use of DPS data was

mandatory and any action by a registrar must be based on the registrar’s reasonable belief that the

voter may be ineligible, not on Secretary Whitley’s advisory. Id. at 331:23-332:4. Furthermore,

complying with the notice is merely a function of following the procedures set forth in statute.

Tex. Elec. Code § 16.033. Trial Tr. 243:15-245:20. Here, the Organizational Plaintiffs at most

would merely have to point to state law, which clearly sets forth the standards and processes that

control the maintenance of accurate voting rolls to ensure election integrity. Id. And in the event

that anyone is investigated, the basis for the investigation would be the registrar’s independent

determination, not Defendants’ advisory and public statements. Trial Tr. 331:23-332:4; LULAC-

1, Garibay 1, MOVE TX 2, Election Advisory, at 1.

        30.     The Secretary of State cannot tell counties what to do. Trial Tr. at 389:2-8. At least

140 of the counties have elected officials, and the Secretary cannot tell elected officials what to

do. Id. The Secretary has an obligation to do what it can to obtain and maintain uniformity in the

interpretation, application, and operation of the Election Code and election laws outside the code.




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Id. at 390:16-25. The Secretary of State does so through election advisories, written directives, as

well as through assistance and advice set forth in Election Code § 31.004. Id.

        31.     The Secretary of State does not have the authority to direct any local officials to do

anything with respect to individual voters under the matching process. Id. at 343:22-344:1. Voters

can be immediately reinstated if they show proof of citizenship to the voter registrar, and they can

also vote a provisional ballot. Id. at 344:2-12.

        C. Plaintiffs Have Not Established That They Have a Claim Upon Which Relief Can
           Be Granted.

                    1. Plaintiffs Have Failed to Establish Fourteenth and First Amendment
                       Claims.

                            a. Plaintiffs Did Not Show the Character or Magnitude of Their
                               Alleged Injuries Qualify as a Substantial Burden on the Right
                               to Vote.
        32.     The evidence presented shows that citizens born in the U.S. and naturalized citizens

both have to submit proof of their citizenship to DPS when initially applying for a driver’s license

and/or when renewing their driver’s license. Id. at 271:24-272:5. There are list maintenance

activities other than the matching process that require county voter registrars to send out notices

of examination to voters. Id. at 519:17-520:4. To determine voter eligibility other than residency,

the process is sending out a notice of examination that requires the recipient to respond within 30

days, just like that involved in the matching process. Id.

        33.     Although Plaintiffs presented testimony that there has been confusion among

Latinos, Hispanics, and other minorities which have caused a high number of phone calls being

placed to TX LULAC, Trial Tr. at 237:15-25, TX LULAC’s corporate representative, Lupe Torres,

also testified that the organization is currently devoting a lot of its time with the legislative session

and developing its legislative agenda. Id. at 239:22-240:13. In response to the election advisory,

TX LULAC has (1) written a letter making a request under the Public Information Act; and (2)

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fielded phone calls from members in response to the Election Advisory. Id. at 241:12-242:10.

However, TX LULAC’s director admits that it is a common occurrence for them to receive phone

calls from their members regarding certain questions they may have. Id.; see also 242:11-17.

       34.     Torres stated that TX LULAC’s district offices can provide information to members

regarding the Texas Election Code and that, if a member called into their office after receiving a

notice of examination, the office might provide information to the member about how to respond

to the letter, including how he or she can verify their citizenship by emailing a copy of his or her

naturalization papers to the county voter registrar. Id. at 243:10-244:1. Torres further testified that

if a member calls into their offices with concerns that they have been incorrectly stricken from the

rolls, they would tell members that they could prove their citizenship at any time to their county

voter registrar. TX LULAC further conceded that it will point certain members to code provisions

that tells them they can get reinstated at any time. Id. at 244:13-21.

       35.     Torres concedes that if a member is concerned about having been stricken from the

voter rolls, TX LULAC’s office will inform the member that they are able to cast a provisional

ballot under the Texas Election Code, and recognizes that sometimes people have to do that when

they don’t have all of the proper information. Id. at 244:22-245:2. TX LULAC is also aware that

any person can go cast a provisional ballot, prove their citizenship, and that provisional ballot will

be counted as long as citizenship is proven before the provisional ballots are counted. Id. at 245:14-

20.

       36.     If a person’s name appears on the match list, they should not be unilaterally

removed from the voter rolls without a 30-day notice being sent. Id. at 541:9-25; LULAC-1,

Garibay 1, MOVE TX 2, Election Advisory, at 1. It is the county’s choice whether to send a 30-

day notice under the citizen match project before their voter registration is canceled. Id. A citizen



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registered to vote who receives a notice of examination can resolve the notice by responding with

a copy of their proof of citizenship. Trial Tr. 326:9-25; 327:1-25; 339:5-9; 339:23-25; 526:10-16;

Tex. Elec. Code § 1.007. The documents do not have to be certified. Id. Acceptable proof of

citizenship includes copies of the individual’s birth certificate, passport, or naturalization

documents. Id. The individual may submit their proof of citizenship to the county registrar through

a number of methods, including hand delivery, fax, emailing a scanned copy of the proof, emailing

a photograph of the proof, or any other acceptable manner. Id.

       37.     The evidence presented contradicts Plaintiffs’ assertion that naturalized citizens

will lose their right to vote as a result of the matching process and, instead, shows Texas has

multiple safeguards in place to make sure properly registered voters remain on the voter rolls.

Plaintiffs’ witnesses acknowledged that there are measures people can take if their voter

registration has been canceled, including contesting the cancellation with the voter registrar’s

office and requesting a hearing with the registrar. Id. at 278:4-12. Their names can be added back

to the voter rolls if they were wrongfully canceled. Trial Tr. 329:1-330:1. In addition, Plaintiffs’

witnesses did not deny that voters whose names are not on the voting rolls may still cast provisional

ballots. Id. at 280:20-281:5; 462:6-21. If a citizen’s registration is canceled, their registration is

required to be reinstated immediately if they subsequently present proof of citizenship to the voter

registrar. Id. at 329:1-330:1. They can present their proof of citizenship to the voter registrar at any

time after their registration is canceled, including on election day. See id. at 462:6-21.

       38.     Someone who is a U.S. citizen but had their registration wrongfully canceled can

be immediately reinstated on the voter roll with their original effective date of registration when

they provide proof of citizenship to their voter registrar—it is not a re-registration. Id. at 329:1-

330:1. Once they are reinstated on the voter roll, they can vote immediately. Id. Voters can be



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immediately reinstated and vote a regular ballot if they show proof of citizenship to the voter

registrar; they can also vote a provisional ballot and bring proof of citizenship to the registrar later

before the provisional ballots are counted. Id. at 344:2-12. Even if a voter’s registration is canceled,

they remain in the registration database for two years—a sufficient time for them to provide their

proof of citizenship and be reinstated on the voter roll. Id. at 457:6-17.

        39.     The evidence shows none of the Plaintiffs have been denied their ability to vote or

are otherwise unable to vote as a result of the matching process. Plaintiffs’ witnesses testified that

they do not know of any individuals who have been taken off the voter rolls or who have had their

voter registration cancelled. Id. at 271:11-16; 281:6-11. Plaintiffs’ witnesses testified that they did

not know of anybody who has had charges brought against them for election offenses or who has

been prosecuted by the attorney general after receiving a notice of examination, See id. at 271:17-

23. Plaintiffs failed to present any evidence showing they have and/or will experience difficulties

in maintaining their voter registration because of the matching process.

        40.     Plaintiffs did not present evidence supporting the invalidation of the entire

matching process as an appropriate remedy. The Secretary of State’s Election Advisory does not

require the counties to send a notice of examination. Id. at 341:25-342:21; LULAC-1, Garibay 1,

MOVE TX 2, Election Advisory, at 1. It is only if the voter registrar has reason to believe the voter

is not eligible should they send a notice of examination. Id. If a person receives a notice and does

not respond, that person still has the option to vote. Id. They can show proof of citizenship and be

immediately reinstated and vote a regular ballot, or they can vote a provisional ballot, provide

proof of citizenship, and have their provisional ballot counted. Id. The Election Advisory doesn’t

threaten criminal investigation of anyone and the Secretary of State does not have authority to

conduct a criminal investigation because they do not have any law enforcement powers. Id.



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        41.     The matching process is not something new or different—it is a regular list

maintenance process that is required under the law. Id. at 400:24-401:6; 434:21-25; 490:6-12. The

only difference with this matching process is that it involves a new data set. Id. The Secretary of

State does not have the authority to direct any local officials to do anything with respect to

individual voters under the matching process. Id. at 343:22-344:1; LULAC-1, Garibay 1, MOVE

TX 2, Election Advisory, at 1. The way list maintenance activities, such as the matching process,

work is that the data is sent to the counties. Trial Tr. 507:22-508:13. Once the counties receive the

list, they are supposed to follow their normal list maintenance procedures by reviewing the

information provided to determine whether they have reason to believe that a person may not be

eligible to vote. Id. In such instances, the county would then send a notice of examination to the

individual. Id. If the county does not have reason to believe that a person may not be eligible to

vote, then they should close the task and not take any further action. Id. Consistent with the

wording of the Election Advisory, Betsy Schonhoff testified that it is her understanding that the

counties were not just to take the list and send out notices to every individual on the list who resides

in their county. Id.

        42.     The monthly data sent to counties moving forward is different from the initial match

data set, involves less individuals, and contains more refined information. Id. at 411:9-16; 466:10-

22; 480:22-481:11; 486:3-12; LULAC-55 at 1. During the preliminary injunction hearing, the

Court took judicial notice that it is highly unlikely that somebody could go to DPS, check the box

that they are not a U.S. citizen, then get their driver’s license and go through the naturalization

ceremony within the 2-3 weeks that would be covered by a monthly dataset. See Trial Tr. 481:12-

18.

        43.     The Secretary of State did not have the ability to obtain data regarding citizenship



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from any federal agency during the development of the non-citizen list maintenance project. Id. at

540:17-24; Tex. Trans. Code § 730.005. DPS data is utilized for this purpose because the

Transportation Code authorizes the Secretary of State to obtain information from DPS for voter

registration purposes. Id.

                             b.   Plaintiffs Did Not Show Their Alleged Burdens Outweigh the
                                  State’s Interest in Safeguarding the Integrity of the Electoral
                                  Process.
        44.     Plaintiffs’ witness, Janet Meek, admitted that it is important for the State of Texas

to count only the votes of eligible voters, that the State has an interest in protecting the integrity of

the voting process, and that, when citizens have confidence in the integrity of the voting process,

that confidence encourages them to vote. Id. at 269:17-19, 270:4-7, 270:11-12. Meek further stated

that she can’t imagine the State would not have any protections in place to protect against voter

fraud. Id. at 270:11-12.

        45.     The Secretary of State believes it is important to maintain the integrity of voter rolls

because they want to have the best list possible and want to make sure that nobody’s legitimate

vote is canceled by an illegitimate vote. Id. at 299:5-13. To maintain the integrity of the voter

rolls, the Secretary of State conducts list maintenance activities in an effort to make sure ineligible

voters are removed, but eligible voters are not affected, to the fullest extent possible. Id. at 299:25-

300:18. These list maintenance activities are vital to the Secretary of State’s mission of maintaining

electoral integrity. Id.

                    2. The Evidence Shows, and the Court acknowledges, that Defendants Did
                       Not Implement the Matching Process to Silence Minority Voters.

        46.     The Secretary of State’s job with respect to elections is to obtain and maintain

uniformity in the interpretation, application and operation of the election code and election laws

outside of the election code. Id. at 296:19-25. The Secretary of State primarily does that through


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the assistance and advice to election officials. Id. It is the responsibility of the Secretary and

counties to maintain compliance with Section 31.005 of the Texas Election Code and to protect

voters’ rights. Id. at 297:15-298:6. It is also a shared responsibility among the Secretary of State

and counties to maintain the integrity of the voter rolls in Texas. Id. The Secretary of State provides

data to the counties and the counties use that data to maintain their voter registration lists. Id. The

States’ goals with respect to voter roll maintenance is dual and in a way at odds with each other.

Id. at 298:7-20. The National Voter Registration Act (“NVRA”) and Help America Vote Act

(“HAVA”) require that the State make voter registration available to all eligible citizens. Id. NVRA

and HAVA also require the State to maintain the integrity of voter rolls by removing people who

are deceased or no longer eligible to be registered to vote or were not eligible to vote in the first

place. Id. Accordingly, state law has a number of provisions that further those competing goals—

to make sure that eligible voters aren’t bothered but that ineligible voters are removed from the

rolls. Id.

        47.    HB 2512 was passed in the 2013 legislative session and amended the

Transportation Code to authorize the sharing of driver’s license records with the Secretary of State

for voter registration purposes. Id. at 305:2-19. Pursuant to that law, the Secretary of State’s office

asked DPS for data with regard to citizenship so they could see about matching noncitizens with

voter registration and determining whether any individuals should be removed from the voter rolls.

Id. This process began shortly after a hearing of the Senate Select Committee on Election Security

in February 2018. Id. At least some of the senators on the committee expressed dissatisfaction with

the passive nature of removing non-citizens from the rolls through the jury summons process. Id.

Although state law does not spell out in detail how the DPS data-matching program is supposed

to be conducted, numerous Election Code provisions—including Sections 16.033 and 16.0332—



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specify the procedure for conducting list maintenance. Id. at 307:23-308:8. The only difference

about the matching process here is that it is a new data set. Id.

        48.     The Secretary of State’s goals in developing the matching process were the same

as other list maintenance activities: remove ineligible voters from the rolls while minimizing the

impact on eligible voters. Id. at 309:20-310:1; LULAC-1, Garibay 1, MOVE TX 2, Election

Advisory, at 1. It is the same goal and same process as all other list maintenance processes, but

using a new data set. Id. In addition, the Secretary of State’s goal was to tighten up the data received

from DPS as much as they could so they would minimize the impact on eligible voters. Trial Tr.

310:2-19.

        49.     The Secretary of State conducted numerous tests of the data in the matching process

prior to rolling out the data to the counties in an effort to minimize the impact on eligible voters.

Id. at 310:2-19. It also worked with different matching criteria and decided to proceed with only

the strongest matching criteria available so they could confirm the identity of the voter involved

was the same across data sets. Id. In addition, at all relevant times the Secretary of State has

maintained communication with DPS throughout the process to make sure the best information is

available to distribute to the counties. Id.

        50.     The Secretary of State advised the counties to treat all of the data matches found in

the matching process as weak, even though all of them were strong, because they did not want

voters to be incorrectly canceled from the voter rolls. Id. at 320:17-321:16; 323:9-25; 324:1-5;

LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 1. The Secretary of State told counties

to treat the matches as if they were weak matches to make sure they go through their investigation

process and, if necessary, they send a notice of examination, so the voter has a chance to respond

to the notice of examination and to prove that they are a U.S. citizen. Id.



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       51.     The evidence shows that the Secretary of State maintained transparency at all

relevant times with respect to this list maintenance project. Id. at 311:4-313:6. The Secretary of

State began previewing for the counties that this new data source was coming around September

2018. Id. Moreover, Keith Ingram spoke publicly regarding the development of the matching

process during a panel at Tribune Fest in or around September 2018. Id.; see also id. at 312:8-

313:16; LULAC-66, List Maintenance Training Materials.

       52.     The Secretary of State provided the counties with in-person training regarding the

matching process at a conference of the Texas Association of Election Administrators (the

“TAEA”), which approximately 450 county personnel attended, in addition to nine training

webinars that were made available to the counties online and numerous mass email advisories. Id.

at 314:4-12; 364:7-9; 543:4-17. Moreover, if a county failed to attend the TAEA presentation or

any of the webinars, the Secretary of State sent those counties a copy of the slides used in the

trainings. Id. at 314:14-24; 543:4-17; LULAC-66, List Maintenance Training Materials; Defs’ Ex.

10, list of counties who attended Secretary of State webinars on matching process.

       53.     On multiple occasions, the Secretary of State clearly relayed to the counties,

through its numerous communications, in-person trainings, and webinars, that the county registrars

must first investigate the individuals on the list using any lawful means and, only if after such

investigation the registrar has reason to believe the individual is ineligible to vote, may then choose

to send a notice of examination to such individual. Id. at 313:17-314:3; 316:12-317:1; 317:12-

319:14; 318:6-21; 318:22-319:14; 320:17-321:16; 323:9-25; 324:1-325:2; LULAC-47; LULAC-

55. The counties were also informed that they were not required to send out a notice of examination

at any point in time and could choose not to take any action with the data given to them by the

Secretary of State. Trial Tr. 333:22-334:15; 336:16-337:10; 341:25-342:21. It is not the process to



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automatically cancel voters on the basis of data sent by the Secretary of State. Id. at 317:2-11. Nor

can the counties cancel a voter’s registration for suspected non-citizenship without first sending

the individual a notice of examination to give them an opportunity to respond. Id. at 338:15-339:4;

LULAC-1, Garibay 1, MOVE TX 2, Election Advisory, at 1. Moreover, the counties were

informed about the issues with being able to determine citizenship status from the DPS data,

including that a person is able to become a U.S. citizen after receiving a driver’s license or

identification card from DPS. Trial Tr. 536:19-25.

       54.     Betsy Schonhoff, the former voter registration manager at the Secretary of State’s

office, testified that she talked to the counties about the information they had in-house to make

sure that an individual had not already provided proof of citizenship being requested currently. Id.

at 509:2-10. In addition, after some counties sent out notices to every person in their county that

was on the list, Schonhoff directed the counties that, if they were able to identify that they received

an electronic application containing proof of citizenship from DPS for an individual, they should

notify the individual that they have been cleared, no action would be needed from that person, and

that the county should close out their investigation. Id.

       55.     Schonhoff testified that she did not become aware until after the program was rolled

out that the list included a number of individuals who had proven their citizenship to DPS. Id. at

514:9-515:3. After discovering the issue, Schonhoff immediately called DPS to find out why these

individuals were included in the data set. Id.

       56.     The Secretary of State does not have the ability to cancel any voter’s registration

for non-citizenship as part of its list maintenance obligations or the matching process, and does

not have the ability to send notices of examination to individuals. Id. at 330:6-22. Further, the

Secretary of State did not instruct the counties to cancel the registrations of any naturalized U.S.



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citizens. Id. at 333:24-334:15. Nor did the Secretary of State instruct counties to do anything

particular with respect to any specific voter. Id.

        57.        Under Texas law, the voter registrar in the county is responsible for that county’s

voter registration list. 331:14-332:7; 339:13-20. They are the ones who have to take on the ultimate

responsibility of deciding whether or not there is reason to believe that a particular voter is not

eligible to be registered to vote. Id. If the county makes that determination, they should send a

notice of examination. Id. This is information county officials should know because it is the

process for all list maintenance. Id.

        58.        The matching process is not an attempt to “purge” voters. Id. at 340:23-341:12. The

matching process is an attempt to make sure ineligible voters are removed from the rolls and that

eligible voters are not disturbed. Id. It is a list maintenance process required by federal and state

law, and the goal is to have a good voter registration list, not to purge voters. Id. The Secretary of

State does not have the authority to remove a voter from a voter roll for purposes of non-

citizenship. Id.

        59.        Nobody at the Secretary of State’s office intentionally targeted or discriminated

against naturalized citizens. Id. at 345:18-346:20; 542:20-543:3. Nor did anyone at the Secretary

of State’s office implement the list maintenance matching process to suppress voter turnout in any

way. Id. There is no indication of a voter’s race or ethnicity in the data used for this list-

maintenance process. Id. The Secretary of State took every precaution to minimize the impact of

the matching process list maintenance acidity on eligible voters, and remains committed to

working with counties to continue minimizing impact on eligible voters. Id. Keith Ingram testified

that he will do everything he can to minimize the impact of this process on eligible voters. Id.

        60.        The Secretary of State’s office called counties on January 29, 2019, to tell them to



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review their application files, including looking for Code 64s in their database, because that is an

indication that a person has become a citizen and registered to vote at DPS, and they should close

those tasks without sending those individuals a notice of examination. Id. at 368:10-17. In addition,

the Secretary of State’s office told those counties that, if they had sent notice of examination letters

to those individuals, they should send another letter retracting it and telling the voter that their

registration is still valid. Id. The important thing from the Secretary of State’s perspective was to

get the information to the counties as soon as possible and verify that the counties received the

information. Id. at 369:12-370:3. That is the reason why they called the counties in person after

they discovered the issue with the matching process containing data relating to naturalized U.S.

citizens. Id. They immediately called the counties because they wanted to make sure they had this

information and that they did not adversely impact eligible voters. Id. Keith Ingram testified that,

based on his experience, people do not always what that they are sent, so the Secretary of State

chose to communicate this important information to counties directly through personal phone calls

to make sure voters were not adversely impacted. Id.

                    3. The Garibay and MOVE TX Plaintiffs’ Voting Rights Act Claims Must
                       Fail.

          61.   Defendants incorporate sections III(C)(1)(a)-(b) and III(C)(2) above by reference

as if fully set forth herein.

                    4. The Garibay Plaintiffs Have Failed to Establish a Violation of 45 U.S.C.
                       § 1985, Conspiracy to Interfere with Civil Rights.

          62.   Defendants incorporate section III(C)(2) above by reference as if fully set forth

herein.

                    5. The MOVE TX Plaintiffs Have Failed to Establish a Fifteenth
                       Amendment Claim.

          63.   Defendants incorporate section III(C)(2) above by reference as if fully set forth

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herein.

                   6. The MOVE TX Plaintiffs Have Failed to Establish Any Due Process
                      Claims.

          64.   Defendants incorporate section III(C)(2) above by reference as if fully set forth

herein.

                   7. The MOVE TX Plaintiffs Have Failed to Allege Facts About
                      Discriminatory Purpose.

          65.   Defendants incorporate section III(C)(2) above by reference as if fully set forth

herein.

          D. The Evidence Does Not Show That Plaintiffs Have Suffered or Will Suffer an
             Irreparable Injury, and Plaintiffs Have Not Proven Any Substantial Burden on
             the Right to Vote.

          66.   Texas has multiple safeguards in place to make sure properly registered voters

remain on the voter rolls. Plaintiffs’ witnesses acknowledged that there are measures people can

take if their voter registration has been canceled, including contesting the cancellation with the

voter registrar’s office and requesting a hearing with the registrar. Trial Tr. 278:4-12. Their names

can be added back to the voter rolls if they were wrongfully canceled. Trial Tr. 329:1-330:1. In

addition, Plaintiffs’ witnesses did not deny that voters whose names are not on the voting rolls

may still cast provisional ballots. Id. at 280:20-281:5; 462:6-21. If a citizen’s registration is

canceled, their registration is required to be reinstated immediately if they subsequently present

proof of citizenship to the voter registrar. Id. at 329:1-330:1. They can present their proof of

citizenship to the voter registrar at any time after their registration is canceled, including on

election day. See id. at 462:6-21.

          67.   Someone who is a U.S. citizen but had their registration wrongfully canceled can

be immediately reinstated on the voter roll with their original effective date of registration when



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they provide proof of citizenship to their voter registrar—it is not a re-registration. Id. at 329:1-

330:1. Once they are reinstated on the voter roll, they can vote immediately. Id. Voters can be

immediately reinstated if they show proof of citizenship to the voter registrar, and they can also

vote a provisional ballot. Id. at 344:2-12. Even if a voter’s registration is canceled, they remain in

the registration database for two years—a sufficient time for them to provide their proof of

citizenship and be reinstated on the voter roll. Id. at 457:6-17.

       68.     The evidence shows none of the Plaintiffs have been denied their ability to vote or

are otherwise unable to vote as a result of the matching process. Plaintiffs’ witnesses testified that

they do not know of any individuals who have been taken off the voter rolls or who have had their

voter registration cancelled. Id. at 271:11-16; 281:6-11. Plaintiffs’ witnesses testified that they did

not know of anybody who has had charges brought against them for election offenses or who has

been prosecuted by the attorney general after receiving a notice of examination, See id. at 271:17-

23. Plaintiffs failed to present any evidence showing they have and/or will experience difficulties

in maintaining their voter registration because of the matching process.

       E. The Evidence Shows That Plaintiffs’ Requested Relief Would Impose a
          Substantial Burden on Defendants and Disserve Public Interest in Maintaining
          the Integrity of Elections.

       69.     Plaintiffs’ witnesses admit the state has an interest in protecting the integrity of the

voting process and that, when citizens have confidence in the integrity of the voting process, that

confidence encourages them to vote. Trial Tr. 269:17-19; 270:4-7. Secretary Whitley’s

constitutional role requires him to assist county election officials and ensure the uniform

application and interpretation of election laws throughout Texas. See, e.g., Tex. Const. art. 4, § 21;

Tex. Elec. Code § 31.001.; Trial Tr. at 295:9-16. Secretary Whitley’s Elections Division provides

assistance and advice to election officials and the general public on the proper conduct of elections,



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including hosting seminars and election schools, providing calendars, prescribing forms, certifying

ballots, funding primary elections, and providing legal interpretations of election laws to election

officials. See, e.g., Tex. Elec. Code §§ 31.003 (duty to maintain uniformity of application of

election laws), 31.004 (duty to provide assistance and advice to all election authorities), 31.005

(authority “to protect the voting rights of the citizens of this state”), 31.0055 (duty to maintain a

voting-rights hotline), 31.006 (duty to refer complaints alleging criminal conduct to the Attorney

General). Secretary Whitley is required by law to maintain a computerized voter registration list

that accurately reflects the official voter roll of the State for use by election officials in Texas. See

id. § 18.061; Trial Tr. 298:7-20, 305:2-19; 306:25-307:20; 307:23-308:25. It is the shared

responsibility of the state and county officials to maintain the integrity of the voter rolls in Texas.

Trial Tr. 297:15-298:6. The matching process is not something new or different – it is a regular

list maintenance that is required under the law. Id. at 400:24-401:6; 434:21-25; 490:6-12. The only

difference with the matching process is that it involves a new data set. Id. The Secretary of State

does not have the authority to direct any local officials to do anything with respect to individual

voters under the matching process. Id. at 343:22-344:1.

                             PROPOSED CONCLUSIONS OF LAW

I.      PLAINTIFFS CANNOT PREVAIL ON THE MERITS OF THEIR CLAIMS

        70.     “To be entitled to a preliminary injunction, the applicants must show (1) a

substantial likelihood that they will prevail on the merits; (2) a substantial threat that they will

suffer irreparable injury if the injunction is not granted; (3) their substantial injury outweighs the

threatened harm to the party to be enjoined; and (4) granting the preliminary injunction will not

disserve the public interest.” Voting for America, Inc. v. Steen, 732 F.3d 382, 386 (5th Cir. 2013)

(quoting Tex. Med. Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570, 574 (5th Cir.



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2012)). The Fifth Circuit “has repeatedly cautioned that a preliminary injunction is an

extraordinary remedy which should not be granted unless the party seeking it has clearly carried

the burden of persuasion on all four requirements.” Steen, 732 F.3d at 386 (quoting Lakey, 667

F.3d at 574 (internal quotation marks omitted)) (emphasis added). If the movant fails to establish

any one of the four prerequisites to injunctive relief, relief will not be granted. Women’s Med. Ctr.

of Nw. Hous. v. Bell, 248 F.3d 411, 419 n.15 (5th Cir. 2001). Even when a movant satisfies each

of the four factors, the decision whether to grant or deny a preliminary injunction remains

discretionary with the district court. Miss. Power & Light Co. v. United Gas Pipe Line Co., 760

F.2d 618, 621 (5th Cir. 1985). The decision to grant a preliminary injunction is to be treated as an

exception rather than the rule. Id.

       A. Plaintiffs Lack Standing to Assert Their Claims.

       71.     None of the Plaintiffs have established standing, which requires them to show (1)

an actual or imminent injury that is concrete and particularized, (2) fairly traceable to the

defendant’s conduct, and (3) redressable by a judgment in the claimant’s favor. DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 342 (2006) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

(1992)).

       72.     Plaintiffs have failed to show the injury-in-fact component of standing because their

alleged injuries are not “actual or imminent,” but at best merely “conjectural and hypothetical.”

DaimlerChrysler Corp., 547 U.S. at 342 (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 102

(1983)). Put simply, there is no guarantee that any given Plaintiff—or member of the proposed

Plaintiff class—will have her registration cancelled absent an injunction. Moreover, their claims

are not traceable to Defendants because the injury they complain of is the result of “the independent

action of some third party not before the court,” id. (quoting Simon, 426 U.S. at 41-42), namely,



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county election officials. And it is entirely “speculative” that a favorable decision would redress

the injuries that Plaintiffs alleged given that no injuries have yet occurred or are certain to occur.

None of Plaintiffs’ declarations or other evidence attached to their motion alter this conclusion,

and Plaintiffs did not establish at the February 19th hearing that they have standing to proceed.

Accordingly, their request for a preliminary injunction against Defendants fails on jurisdictional

grounds.

             1. The Individual Plaintiffs Lack Standing.

       Plaintiff Hilberg

       73.      Individual Plaintiff Julie Hilberg, is a U.S. citizen and a Texas resident. LULAC

First Am. Compl. ¶ 19; Trial Tr. 218:12-218:15. She became a naturalized citizen in 2015 and

voted in the 2016 and 2018 elections. Id.; Trial Tr. 218:12-218:15. After Secretary Whitley’s

advisory, Plaintiff Hilberg became concerned based on the date she received her driver’s license

that she may be among the voters who provided documentation to DPS indicating that she was a

non-citizen. Id. ¶¶ 66, 71; Trial Tr. 219:14-221:1. She then spoke with the election administrator

in her county and was informed that her name was on the DPS list. Id. ¶ 72. Based on these facts,

Plaintiff Hilberg asserts that Defendants have burdened her right to vote and violated section 11(b)

of the Voting Rights Act by threatening her not to exercise her right to vote.

       74.      There is no “real and immediate” threat that Plaintiff Hilberg’s right to vote will be

violated. Lyons, 461 U.S. at 102; Trial Tr. 231:11-231:24. Her claimed injury depends on an

attenuated chain of events, none of which has occurred here. Trial Tr. 231:11-231:24. As an initial

matter, for Plaintiff Hilberg to suffer “actual and imminent” harm, the county register would have

to send her a notice based on a reasonable belief that Hilberg is ineligible to vote. Tex. Elec. Code




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§ 16.033(b); Lujan, 504 U.S. at 560; Trial Tr. 231:11-231:24. Registrars are prohibited from

unilaterally removing a voter from the rolls without notice. Tex. Elec. Code § 16.033(c)-(d).

       75.     Moreover, even if the registrar were to investigate Plaintiff Hilberg, it is entirely

speculative to conclude that she would somehow be removed from the voting rolls. Such an

outcome would mean that either Hilberg did not receive the notice or failed to submit a timely

response, or that the register erroneously removed her from the list after she presented proof of her

naturalization. In the event Hilberg were in fact removed from the voter rolls in error, Texas law

provides for immediate reinstatement following receipt of information establishing proof of

citizenship. Tex. Elec. Code §§ 1.007(c), 16.037(d). By statute, that information can be emailed,

personally delivered, mailed, or even faxed to the registrar. Id. And in the event Hilberg discovered

such an error on the date of an election, Texas law would allow her to submit citizenship proof

immediately and vote a regular ballot or vote provisionally and submit proof of citizenship or any

time before the provisional ballots are counted. See, e.g., Tex. Elec. Code §§ 63.011, 65.054.

       76.     In sum, Hilberg’s ability to vote would be impaired only if she is investigated, and

her registration is cancelled because she does not timely provide proof of citizenship, and she is

not reinstated because she does not provide proof after cancellation, and her provisional vote is

not counted because she does not provide proof before her provisional ballot is counted. Because

numerous statutory safety valves exist to protect Hilberg’s registration status, any claim that she

has been injured is purely speculative. Hilberg has suffered no “actual or imminent” harm and

cannot therefore satisfy standing requirements. See Lujan, 504 U.S. at 560; see also Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 411 (2013); Trial Tr. 231:11-231:24.

       77.     Nor are Plaintiff Hilberg’s alleged injuries traceable to Defendants. Secretary

Whitley merely shared data with the county registrars. What these officials do with the data,



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Secretary Whitley repeatedly stressed, was for them to decide, in accordance with applicable law.

Secretary Whitley merely provided county registrars with additional information pursuant to a

mandatory disclosure statute. He did not direct registrars to remove a single voter from the rolls

based solely on the data provided. For Plaintiff Hilberg to suffer an injury, there would have to be

“independent action” by the county registrar. Id (quoting Simon, 426 U.S. at 41-42). Thus, Plaintiff

Hilberg’s present claims against Defendants must be dismissed. Id.

       78.     Finally, Plaintiff Hilberg’s claims are not redressable by a decision in her favor.

She asks this Court to declare unlawful the matching process and Defendants’ public statements

about data derived as a result of that process and to prevent Defendants or election officials to take

any action based on Secretary Whitley’s advisory. But this relief would require this Court to strike

down state law without redressing any actual harm to Plaintiff Hilberg. And, in any event,

Secretary Whitley’s advisory and Defendants’ related statements did not direct local election

officials to take any action. Thus, even if the Court were to take the extraordinary step of declaring

the public statements of two statewide officials to be unlawful, Plaintiff Hilberg’s status would

remain unchanged. With or without Defendant’s public statements and the Secretary’s advisory,

the registrars can still make an independent determination of whether to investigate the eligibility

of voters across the state. Therefore, the requested declaratory or injunctive relief would not redress

any action by Defendants that allegedly harmed any voter in Texas.

       79.     Likewise, Governor Abbott and Attorney General Paxton have no causal

connection to any alleged injury-in-fact. In expressing their opinions on the data, the Governor

and Attorney General did not direct any local official to take any particular action with regard to

Hillberg, or any other resident of Texas. To find any causal connection between the Governor and

Attorney General’s public statements and the harm complained of here would extend federal



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jurisdiction far beyond its Article III limitations into public policy matters that are “not of a Judicial

nature.” DaimlerChrysler, 547 U.S. at 342 (quoting James Madison, 2 Records of the Federal

Convention of 1787, at 430 (M. Farrand ed. 1966)). Because Hillberg suffered no “actual or

imminent” harm causally connected to the Governor or Attorney General’s statements, her claims

against the Governor and Attorney General must be dismissed for want of jurisdiction. See Lujan,

504 U.S. at 560.

        Remaining Individual Plaintiffs

        80.     None of the remaining Individual Plaintiffs have met their burden to establish

standing. The remaining Individual Plaintiffs assert that they are naturalized U.S. citizens and

registered Texas voters. Id. ¶¶ 8-40. They claim that they are injured because they were allegedly

identified by the matching process or they received a Notice of Examination requesting a response

within the prescribed period. Id. In either case, there is no “real and immediate” harm to any of the

Individual Plaintiffs. Lyons, 461 U.S. at 102. Their claimed injuries depend on an attenuated chain

of events. For the Individual Plaintiffs to suffer “actual and imminent” harm, the county registrar

would have to send them Notice of Examination letters and they would have to fail to respond

within the prescribed period and further fail to provide proof of citizenship for immediate

reinstatement and fail to vote provisionally and provide proof of citizenship before the provisional

votes are counted. The alleged injury “is too speculative to invoke Art. III jurisdiction.” Whitmore

v. Arkansas, 495 U.S. 149, 150 (1990).

        81.     With the exception of four Doe Plaintiffs and Plaintiff Felicitas Barbosa, none of

the Individual Plaintiffs allege that they have received a Notice of Examination letter. Garibay

Third Am. Compl. ¶¶ 8-59. Plaintiff Garibay asserts that her county informed her that she appeared

in the matching data, but there is no allegation that she has received any notice of an investigation.



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Id. ¶¶ 10-11. Likewise, Plaintiffs Hummel, Castillo, Garcia, Tule-Romain, Espinosa Flores, Tule

Carrizales, and Gomez allege that they have appeared in the matching data, but none claims to

have received a Notice of Examination. Id. ¶¶ 43-59. And Plaintiff Keane alleges that, though she

did receive a notice concerning her voting eligibility, the sender of the notice—Galveston County

Tax Assessor Cheryl Johnson—later confirmed that the notice was sent in error. Id. ¶¶ 34-35.

       82.     There is no “real and immediate” threat that the right to vote of any of these

Plaintiffs will be impaired. Lyons, 461 U.S. at 102. Their claimed injury depends on an attenuated

chain of events, none of which has occurred here. As an initial matter, the registrar would have to

send a Notice of Examination based on a reasonable belief that each is ineligible to vote. Tex. Elec.

Code § 16.033(b). Registrars are prohibited from unilaterally removing a voter from the rolls

without notice. Tex. Elec. Code § 16.033(c)-(d). And Secretary Whitley emphasized that the

matches should be treated as “weak” matches, and that registrars could take no action at all based

on the DPS data. Election Advisory at 2. Because these Plaintiffs rely on a purely “speculative

chain of possibilities,” their claims must be dismissed. Clapper v. Amnesty Int’l U.S.A., 568 U.S.

398, 414 (2013) (rejecting a standing theory premised on numerous assumptions about how the

statute might be enforced).

       83.     And even with regard to the five Plaintiffs who allege that they received Notices of

Examination, it is entirely speculative to conclude that any of them will be removed from the

voting rolls. Such an outcome would mean that either the Plaintiff failed to submit a timely

response, or that the register erroneously removed her from the list despite receiving proof of

citizenship. Further, in the event that an individual is removed from the voter rolls, Texas law

provides for immediate reinstatement following receipt of information establishing proof of

citizenship. Tex. Elec. Code §§ 1.007(c), 16.037(d). By statute, that information can be emailed,



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personally delivered, mailed, or even faxed to the registrar. Id. And in the event that an eligible

voter discovered that he or she had been removed from the rolls on the date of an election, Texas

law would allow him or her to submit citizenship proof immediately and vote a regular ballot or

vote provisionally and submit proof of citizenship at any time before the provisional ballots were

counted. See, e.g., Tex. Elec. Code §§ 63.011, 65.054.

       84.     In sum, the Individual Plaintiffs’ ability to vote will be impaired only if they are

investigated, and their registration is cancelled because they do not timely provide proof of

citizenship, and they are not reinstated because they do not provide proof after cancellation, and

their provisional vote is not counted because they do not provide proof before the provisional

ballots are counted. Because numerous statutory safety valves exist that protect the Individual

Plaintiffs’ registration status, any claim that they have been injured is purely speculative. The

Individual Plaintiffs have suffered no “actual or imminent” harm and cannot therefore satisfy

standing requirements. See Lujan, 504 U.S. at 560; see also Clapper, 568 U.S. at 411-12

(concluding that Plaintiffs’ claims were speculative because the statute gave the Executive Branch

discretion to determine which communications to target).

       85.     The Individual Plaintiffs’ alleged injuries are not traceable to Defendants. Secretary

Whitley merely shared data with the county registrars. What these officials do with the data,

Secretary Whitley repeatedly stressed, was for them to decide, in accordance with applicable law.

Secretary Whitley simply provided county registrars with additional information obtained

information from DPS pursuant to a mandatory disclosure statute. He did not direct registrars to

remove a single voter from the voter rolls based solely on the data provided. For there even to be

a theoretical possibility of injury here, at a minimum there would have to be “independent action”

by the county registrar. Id (quoting Simon, 426 U.S. at 41-42).



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       86.     Finally, the Individual Plaintiffs’ claims are not redressable by a decision in their

favor. They ask this Court to declare unlawful the matching process and Defendants’ public

statements about data derived as a result of that process, and to prevent Defendants or election

officials from taking any action based on Secretary Whitley’s advisory. But this relief would

require this Court to strike down state law without redressing any actual harm to the Individual

Plaintiffs. And, in any event, Secretary Whitley’s advisory and Defendants’ related statements did

not direct local election officials to take any action. Thus, even if the Court were to take the

extraordinary step of declaring the public statements of three statewide officials to be unlawful,

the Individual Plaintiffs’ status would remain unchanged. With or without Defendants’ public

statements and the Secretary’s advisory, the registrars can still make an independent determination

of whether to investigate the eligibility of voters across the state, including the Individual

Plaintiffs. Therefore, the requested declaratory or injunctive relief would not redress any action by

Defendants that actually harmed any voter in Texas.

       87.     Likewise, Governor Abbott and Attorney General Paxton have no causal

connection to any alleged injury-in-fact. In expressing his opinions on the data, the Governor and

Attorney General did not direct any local official to take any particular action with regard to any

of the Individual Plaintiffs, or any other resident of Texas. To find any causal connection between

the Governor’s and Attorney General’s public statements and the harm complained of here would

extend federal jurisdiction far beyond its Article III limitations into public policy matters that are

“not of a Judicial nature.” DaimlerChrysler, 547 U.S. at 342 (quoting James Madison, 2 Records

of the Federal Convention of 1787, at 430 (M. Farrand ed. 1966)). Because the Individual Plaintiffs

suffered no “actual or imminent” harm causally connected to the Governor or Attorney General’s




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statements, their claims against the Governor and Attorney General must be dismissed for want of

jurisdiction. See Lujan, 504 U.S. at 560.

             2. The Organizational Plaintiffs Lack Standing.

       Plaintiff LULAC

       88.      The Organizational Plaintiffs can establish their standing through either of two

theories, appropriately called “associational standing” and “organizational standing.” OCA-

Greater Houston v. Texas, 867 F.3d 604, 610 (5th Cir. 2017). They do not allege that they have

standing to sue on behalf of their members who “would otherwise have standing . . . in their own

right,” Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 343 (1977). Nor could they do

so because, as explained, no individual member has standing. Instead, the League of United Latin

American Citizens (LULAC) and the Texas chapter of LULAC (Texas LULAC) claim

organizational standing based on the claim that Texas LULAC will have to divert “resources to

educating the Latino community about this unlawful voter purge program and assisting its

members and Latinos throughout the state to response to improper notices threatening cancellation

of their voter registration.” LULAC First Am. Compl. ¶ 18.

       89.      To demonstrate standing, then, the Organizational Plaintiffs must satisfy the same

three-part standing test that applies to individual plaintiffs. OCA-Greater Houston, 867 F.3d at

610. But the Organizational Plaintiffs’ claimed injury is as speculative, non-traceable, and non-

redressable as Plaintiff Hilberg’s. The Organizational Plaintiffs complain that they may have to

devote resources to educating members about the matching process, but they identify no particular

individual who has received a notice from a registrar concerning his or her registration status, or

who has approached Texas LULAC for assistance in documenting voting eligibility. And even if

individuals approached Texas LULAC, they would merely have to provide education on the law



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of Texas. As already stated, the disclosure and use of DPS data was mandatory and any action by

a registrar must be based on the registrar’s reasonable belief that the voter may be ineligible, not

on Secretary Whitley’s advisory or Attorney General Paxton’s public statements.

       90.     Furthermore, complying with the notice is merely a function of following the

procedures set forth in the statute. Tex. Elec. Code § 16.033. Thus, this case is wholly

distinguishable from OCA-Greater Houston, where the organizational plaintiffs had to engage in

“in-depth conversations” because the pertinent state and federal law requirements were not

identical. OCA-Greater Houston, 867 F.3d at 608, 610. Here, the Organizational Plaintiffs at most

would merely have to point to state law, which clearly sets forth the standards and processes that

control the maintenance of accurate voting rolls to ensure election integrity. As explained, the basis

for the investigation would be the registrar’s independent determination, not Defendants’ advisory

and public statements. For that same reason, ruling against Defendants would not redress the

Organizational Plaintiffs’ purported harm because they could still be approached by individuals

seeking advice on responding to notice issued pursuant to state election law. Because the

Organizational Plaintiffs fail to meet each of the standing requirements, this Court lacks

jurisdiction over their claims.

       Plaintiffs MOVE and LWV

       91.     Plaintiffs MOVE and LWV allege that they have standing to seek a preliminary

injunction because they may have to devote resources to responding to the Advisory and the

program, but they identify no particular individual who has received a notice from a registrar

concerning his or her registration status. See No. 3:19-cv-00041, Doc. 10, MOVE Motion for

Preliminary Injunction.




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       92.     Plaintiffs fail to satisfy any of the standing components. Plaintiff LWV claims it

has members who are naturalized citizens registered to vote and are threatened with removal from

the voter rolls, and it has had to divert substantial resources to responding to the Advisory and the

list maintenance program and away from its other advocacy, education, voter assistance, and

lobbying efforts. MOVE argues that it has standing on its own behalf because it has had to divert

substantial resources to responding to the Advisory and the list maintenance program and away

from its other communications, advocacy, voter assistance, and civic engagement activities.

       93.     LWVTX complains that Defendants’ actions somehow impair voter registration.

To identify a cognizable injury based on Defendants’ vague and conclusory allegation requires

piling “inference upon inference” in a manner that would extend federal jurisdiction far beyond its

Article III limitations. Cf. United States v. Lopez, 514 U.S. 549, 567 (1995). Defendants have taken

no actions that harm a naturalized citizen’s right to vote or an organization’s ability to register

citizens. Secretary Whitley merely made available a data set. Registrars are prohibited from

unilaterally removing a voter from the rolls without notice. Tex. Elec. Code § 16.033(c)-(d). And

Secretary Whitley emphasized that the matches should be treated as “weak” matches, and that

registrars could decide to take no action at all based on the DPS data. Election Advisory at 2.

Further, he advised the registrars of their prerogative to make an independent determination and

reiterated the legal notice requirements. There is simply no “real and immediate” threat any

person’s right to vote or register someone to vote will be violated. Lyons, 461 U.S. at 102.

       94.     LWVTX’s members also fail to satisfy the other necessary elements of

constitutional standing. Their alleged injuries are not traceable to Defendants. There is no “causal

connection” between Secretary Whitley’s advisory and the ability of LWVTX’s members to

register naturized citizens to vote. Lujan, 504 U.S. at 560. Nor is there any link between the



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Defendant county officials and the harm to LWVTX’s members. The pleadings merely allege that

these local election officials are responsible for maintaining the local voter registrations lists.

MOVE First Am. Compl. ¶¶ 31-38. None are claimed to have made an independent determination

that violated an individual’s right to vote. Thus, LWVTX’s members have no suffered no alleged

harm that is traceable to Defendants.

       95.     Finally, the alleged injury to LWVTX’s members are not redressable by a decision

in its favor. Plaintiffs ask this Court to declare unlawful the matching process and the Election

Advisory, and to prevent Defendants or local election officials from taking any action based on

the advisory. But this relief would require this Court to strike down state law without redressing

any actual harm to LWVTX’s members. And, in any event, Secretary Whitley’s advisory and

Defendants’ related statements did not direct local election officials to take any action. Thus, even

if the Court were to take the extraordinary step of declaring an advisory statement to be unlawful,

LWVTX’s members would be no better off. With or without the Secretary’s advisory, the

registrars can still make an independent determination whether to investigate the eligibility of

voters across the state, including LWVTX’s members and those registered by LWVTX’s

members. Therefore, the claimed injuries are also not redressable.

       96.     To demonstrate standing, then, Plaintiffs must show that they have “organizational

standing.” This requires satisfying the same three-part standing applicable to individual plaintiffs.

OCA-Greater Houston, 867 F.3d at 610. Plaintiffs complain that the State Defendants’ actions

caused their organizations to divert resources to educating members about the matching process.

MOVE First Am. Compl. ¶¶ 25-27. But, as already explained, DPS was mandated to disclose the

voter data at issue to the Secretary. Tex. Trans. Code § 730.005(9). Secretary Whitley simply made

the data set available to the registrars, who are prohibited from unilaterally removing a voter from



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the rolls without notice. Texas Elec Code § 16.033(c)-(d). Further, Secretary Whitley emphasized

that the matches should be treated as “weak” matches. And he indicated that any action by a

registrar to investigate a voter must be based on the registrar’s reasonable belief that the voter may

be ineligible, and that registrars could take no action at all based on the DPS data. Election

Advisory at 2. Even if a registrar were to investigate an individual, it is therefore purely

“conjectural” to conclude that he or she would be removed or that Plaintiffs would have to divert

resources as a result of the investigation. See Lujan, 504 U.S. at 560.

          97.   Furthermore, complying with the notice of examination is merely a function of

following the procedures set forth by statute. See Tex. Elec. Code § 16.033. Thus, this case is

wholly distinguishable from OCA-Greater Houston, where the organizational plaintiffs had to

engage in “in-depth conversations” because the pertinent state and federal law requirements were

not identical. OCA-Greater Houston, 867 F.3d at 608, 610. Here, Plaintiffs would at most have to

point to state law, which clearly sets forth the standards and processes that control the maintenance

of accurate voting rolls to ensure election integrity. And in the event that anyone is investigated,

there would be no “causal connection” between Plaintiff’s alleged injury and Defendants’ conduct.

See Lujan, 504 U.S. at 560. As explained, the basis for the investigation would be the registrar’s

independent determination, not Defendants’ advisory and public statements. For that same reason,

ruling against Defendants would not redress the harm Plaintiffs claim because they could still be

approached by individuals with inquiries concerning their voting registration status. Because

Plaintiffs fail to meet each of the standing requirements, this Court lacks jurisdiction over their

claims.




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       Plaintiffs SVREP, MFV, LUPE, UnidosUS, and OCA-Greater Houston

       98.     Southwest Voter Registration Project, Mi Familia Vota Education Fund, and

UnidosUS, and OCA-Greater Houston claim organizational standing based on the assertation they

will have to divert resources as a result of Defendants’ actions. Garibay Third Am. Compl. ¶¶ 61-

77. La Unión Del Pueblo Entero (LUPE) claims injury in the form of resource diversion and further

alleges that its members were injured because the matching process identified them. Id. ¶¶ 65-67.

       99.     The Organizational Plaintiffs can establish their standing through either of two

theories, appropriately called “associational standing” and “organizational standing.” OCA-

Greater Houston v. Texas, 867 F.3d 604, 610 (5th Cir. 2017). Only LUPE alleges that it has

standing to sue on behalf of its members who “would otherwise have standing . . . in their own

right,” Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 343 (1977). But this basis for

standing fails for the same reason that the Individual Plaintiffs cannot show standing. The claimed

injury is based on the same “speculative chain of possibilities” that defeats the Individual

Plaintiffs’ standing. Clapper, 568 U.S. at 414. And the hypothetical injuries would not, in any

event, be traceable to Defendants or redressable with a favorable decision. To demonstrate

standing, then, the Organizational Plaintiffs must satisfy the same three-part standing test that

applies to individual plaintiffs. OCA-Greater Houston, 867 F.3d at 610. But the Organizational

Plaintiffs’ claimed injury is as speculative, non-traceable, and non-redressable as the injury alleged

by the Individual Plaintiffs. The Organizational Plaintiffs complain that they may have to devote

resources to educating members about the matching process, but they would not be injured even

if they were approached by an individual who received a Notice of Examination. Under those

circumstances, the Organizational Plaintiffs would merely have to provide education on the law of

Texas. As already stated, the disclosure and use of the matching data was mandatory and any action



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by a registrar must be based on the registrar’s reasonable belief that the voter may be ineligible,

not on Secretary Whitley’s advisory or Governor Abbott’s or Attorney General Paxton’s public

statements.

          100.   Furthermore, complying with the notice of examination is merely a function of

following the procedures set forth in the statute. Tex. Elec. Code § 16.033. Thus, this case is wholly

distinguishable from OCA-Greater Houston, where the organizational plaintiffs had to engage in

“in-depth conversations” because the pertinent state and federal law requirements were not

identical. OCA-Greater Houston, 867 F.3d at 608, 610. Here, the Organizational Plaintiffs at most

would have merely to point to state law, which clearly sets forth the standards and processes that

control the maintenance of accurate voting rolls to ensure election integrity. As explained, the basis

for the investigation would be the registrar’s independent determination, not Defendants’ advisory

and public statements. For that same reason, ruling against Defendants would not redress the harm

the Organizational Plaintiffs claim because they could still be approached by individuals seeking

advice on responding to notices issued pursuant to state election law. Because the Organizational

Plaintiffs fail to meet each of the standing requirements, this Court lacks jurisdiction over their

claims.

          B. Plaintiffs Failed to Prove a Substantial Likelihood of Success on the Merits.

                    1. Plaintiffs’ Fourteenth and First Amendment Claims Must Fail.

          101.   Plaintiffs failed to demonstrate a likelihood of success on their claim that the

matching process imposes a severe discriminatory burden on naturalized citizens, and they did not

produce evidence to overcome the neutral, non-discriminatory interests advanced by the State as

justification for the matching process. A court evaluating a constitutional challenge to an election

regulation must “weigh the asserted injury to the right to vote against the precise interests put



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forward by the State as justifications for the burden imposed by its rule.” See Crawford v. Marion

Cty. Election Bd., 553 U.S. 181, 203 (2008). To do this, courts apply a balancing test derived from

two Supreme Court decisions, Anderson v. Celebrezze, 420 U.S. 780 (1983), and Burdick v.

Takushi, 504 U.S. 428 (1992). “When evaluating a neutral, nondiscriminatory regulation of voting

procedure, [the Court] must keep in mind that a ruling of unconstitutionality frustrates the intent

of the elected representatives of the people.” See Crawford, 553 U.S. at 203.

       102.    In passing judgment, the court “must weigh ‘the character and magnitude of the

asserted injury to the rights protected by the First and Fourteenth Amendments that the plaintiff

seeks to vindicate’ against ‘the precise interests put forward by the State as justifications for the

burden imposed by its rule,’ taking into consideration ‘the extent to which those interests make it

necessary to burden the plaintiff’s rights.’” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S.

at 789). State rules that impose a severe burden on constitutional rights must be “narrowly drawn

to advance a state interest of compelling importance.” Burdick, 504 U.S. at 434. “Lesser burdens,

however, trigger less exacting review, and a State’s ‘important regulatory interests’ will usually

be enough to justify ‘reasonable nondiscriminatory restrictions.’” Timmons v. Twin Cities Area

New Party, 520 U.S. 351, 358 (1997) (internal citations omitted).

                       a. The Character and Magnitude of Plaintiffs’ Alleged Injuries Do Not
                          Qualify as a Substantial Burden on the Right to Vote.


       103.    “To deem ordinary and widespread burdens severe would subject virtually every

electoral regulation to strict scrutiny, hamper the ability of the States to run efficient and equitable

elections, and compel federal courts to rewrite state electoral codes.” Crawford, 553 U.S. at 197.

“The Constitution does not require that result, for it is beyond question that the States may, and




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inevitably must, enact reasonable regulations of parties, elections, and ballots to reduce election-

and campaign-related disorder.” Id (internal quotations omitted).

       104.    Given the fact that Plaintiffs have advanced a broad attack on the constitutionality

of the matching process, seeking relief that would invalidate it in all its applications, they bear a

heavy burden of persuasion. See id. at 200. Plaintiffs ask this Court, in effect, to look specifically

at a small number of voters who may experience a special burden and weigh their burdens against

the State’s broad interests in protecting election integrity. See LULAC First Am. Compl. ¶ 9, p.20-

21 (Prayer for Relief); Garibay Third Am. Compl. ¶ 5, pp. 70-72 (Prayer for Relief). Plaintiffs do

not offer evidence regarding the magnitude of the burden on this narrow class of voters or the

portion of the burden imposed on them that is fully justified. See Crawford, 553 U.S. at 200.

       105.    Plaintiffs complain that having to provide proof of their citizenship within thirty

days from the date they received notice is exceedingly strict and that the imposition of additional

requirements to register to vote and maintain voter registration violates their Equal Protection and

First Amendment Rights See, e.g., LULAC First Am. Compl. ¶ 82-91; Garibay Third Am. Compl.

¶¶ 238-242; MOVE First Am. Compl. ¶¶ 156-158. However, the Supreme Court has already

established that, although a somewhat heavier burden may be placed on a limited number of

persons, inconveniences such as making an extra trip to the DMV and gathering additional required

documents for voter registration do not qualify as a substantial burden on the right to vote, or even

represent a significant increase over the usual burdens of voting. Crawford, 553 U.S. at 198-99.

Such requirements are wholly justified and, therefore, would not pose a constitutional problem.

See id. at 199-200.

       106.    Plaintiffs also speculatively allege, without substantiating facts, that the matching

process will deprive them of their right to vote. See, e.g., LULAC First Am. Compl. ¶ 82-91;



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Garibay Third Am. Compl. ¶¶ 216-231; MOVE First Am. Compl. ¶¶ 159-162. Plaintiffs offer no

evidence to support this claim. As set forth in Section I, supra, Texas allows multiple safeguards

to ensure properly registered voters remain on the voting rolls, including immediate, same-day

reinstatement upon presentation of citizenship verification, and provisional voting pursuant to

Texas Election Code §16.037(d) and § 63.011. See Crawford, 553 U.S. at 197-98 (the availability

of the right to cast a provisional ballot provides an adequate remedy for burdens arising from life’s

vagaries). In other words, even if Plaintiffs’ names do not appear on the list of registered voters

and their registration status cannot be determined, multiple statutory provisions secure qualified

voters their rightful place on the voting rolls. See id.

       107.    Further, none of the Plaintiffs produced evidence that they have been denied their

ability to vote or are otherwise personally unable to vote. Id. at 201. Nor have Plaintiffs shown that

they have lost or misplaced their proof of citizenship, attempted to obtain proof of citizenship, or

encountered difficulty in obtaining proof of citizenship or timely providing such proof for voter

registration purposes. Id. Plaintiffs do not assert facts regarding difficulties they have experienced

that are severe enough to overcome the State’s interest in employing safeguards against voter

fraud. Even assuming, arguendo, that an unjustified, special burden on some voters existed,

Plaintiffs have not shown a burden sufficient to justify the invalidation of the entire matching

process as an appropriate remedy. Further, Plaintiffs are not likely to succeed in proving that any

such obstacles are severe enough to overcome the State’s interest in implementing the matching

procedure. See Crawford, 553 U.S. at 202-03.

       108.    Because Plaintiffs have not shown that they are likely to succeed on their claim the

matching process imposes “excessively burdensome requirements” on any class of voters, they




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cannot show that the character or magnitude of their alleged injuries qualify as a substantial burden

on their right to vote. Id. at 203-04.

                        b. The State’s Interest in Safeguarding the Integrity of the Electoral
                           Process Outweighs the Alleged Burdens to Plaintiffs.
        109.    The Supreme Court has acknowledged that not only is the risk of voter fraud real,

it could affect the outcome of a close election. See Crawford, 553 U.S. at 194-97. Accordingly, the

electoral system cannot inspire public confidence if no safeguards exist to deter or detect fraud or

to confirm the identity of voters. Id. at 194 (citing Building Confidence in U.S. Elections § 2.5

(Sept. 2005), App. 136-37 (Carter-Baker Report) (footnote omitted)). The Court has further stated:

        There is no question about the legitimacy or importance of the State’s interest in
        counting only the votes of eligible voters. Moreover, the interest in orderly
        administration and accurate recordkeeping provides a sufficient justification for
        carefully identifying all voters participating in the election process. While the most
        effective method of preventing election fraud may well be debatable, the propriety
        of doing so is perfectly clear.

Id. at 196. The Supreme Court has also stated that “[w]hile [the interest in the integrity and

legitimacy of representative government] is closely related to the State’s interest in preventing

voter fraud, public confidence in the integrity of the electoral process has independent significance,

because it encourages citizen participation in the democratic process.” Id. at 197.

        110.    It is well-established that the State of Texas has a significant interest in protecting

voter confidence in the integrity and legitimacy of the electoral process. See id. at 194-97. As part

of its mission to safeguard voter confidence, Texas also has an interest in deterring and detecting

voter fraud. See id. at 196 (“There is no question about the legitimacy or importance of the State’s

interest in counting only the votes of eligible voters.”). On its own, the fact that voter rolls may be

inflated with individuals, such as non-citizens, who are not eligible to vote provides a neutral and

nondiscriminatory reason supporting the State’s decision to implement the matching process. See

id. at 196-97. Moreover, the State has a valid interest in participating in a nationwide effort to

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improve and modernize election procedures. See id. at 194-97. Further, the State has an interest in

the uniform application and interpretation of election laws throughout Texas. See, e.g., Tex. Const.

art. 4, § 21. Under the law, Texas’s important interests enumerated above are enough to justify

implementation of the matching process.

                          c. The Florida Case Relied on By Plaintiffs is Distinguishable and
                             Inapposite.


        111.       Plaintiffs rely heavily on a list maintenance program that occurred in Florida, but

for several reasons, Plaintiffs’ reliance on the Florida program is misplaced. See Pls.’ Mot. at 6-7.

First, the Florida program commenced just a few months before statewide primary elections. See

Exhibit, Arcia v. Detzner, No. 1:12-cv-22282-WJZ (S.D. Fla. filed Sept. 26, 2012) [ECF No. 79-

2] (indicating that a preliminary list of names would be sent on April 3, 2012). Also, the chief

elections officer disseminated the list to election supervisors “with a detailed set of instructions—

or at least suggestions—on how to use the list.” United States v. Florida, 870 F. Supp. 2d 1346,

1347 (N.D. Fla. 2012). They were instructed, for example, to contact and investigate the

individuals identified on the list. Exhibit 2 at 2, Arcia, No. 1:12-cv-22282-WJZ [ECF No. 79-2]

(“Please remember that you are still responsible for contacting these individuals and going through

the process of verifying citizenship status before making a determination of eligibility for voter

registration.”).

        112.       The federal government and private plaintiffs sued to enjoin the Florida program.

Neither was successful in the district court. In the litigation brought by the federal government,

the district court rejected the argument that the Florida program violated the National Voter

Registration Act’s (NVRA) prohibition against list maintenance practices intended to systemically

remove ineligible voters from the rolls within 90 days of an election. The court found that the 90-



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day quiet period prevented the removal on grounds that arise after an initial proper registration.

Florida, 870 F. Supp. 2d at 1350. Thus, the Florida program did not violate this portion of the

NVRA because the quiet period did not apply to the revocation of a noncitizen’s improper

registration. Id. The court explained that the NVRA imposed no time limitations on when a state

could remove noncitizens from the voter rolls to protect election integrity. It noted that a state “can

and should” block noncitizens “on the front end” and prevent them “from registering in the first

place.” Id. And the court added that states should remove noncitizens registered in error “well in

advance” of an election. Id. “But the NVRA,” the court concluded, “does not require a state to

allow a noncitizen to vote just because the state did not catch the error more than 90 days in

advance.” Id.

         113.     The federal government also alleged the Florida program violated the NVRA’s

provision requiring state voter maintenance programs to be “uniform” and “nondiscriminatory.”

But the court did not reach the merits of that claim because Florida had suspended the program.

Id. at 1351. 2 It opined, nevertheless, that a “program that accurately identifies noncitizens who are
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registered to vote without unnecessarily challenging citizens could meet the requirement of

uniformity and nondiscrimination.” Id.

         114.     The private plaintiffs also were unsuccessful in stopping the Florida program in a

separate lawsuit at the district court. The district court read the NVRA’s 90-day provision in the

same way that the court had in the lawsuit brought by the federal government and concluded that

the states were not required to sit idly on the sidelines as an election nears. It similarly held that


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  The court speculated that the Florida Secretary’s program “probably ran afoul” of this provision of the NVRA while
it was being pursued as the Florida Secretary’s “proposal was to send letters to the listed individuals requiring a
response and ultimately to require them to provide documentation of their citizenship.” Id. at 1350. The Court did not
rule on that issue, however, as the program had already been suspended. Moreover, unlike the Florida program,
Secretary Whitley’s program envisions an iterative process whereby local election officials would make individualized
determinations about the need to investigate the eligibility of voters on the lists. It does not contemplate—and has not
engendered—indiscriminate mass mailings by local election officials to persons whose names appeared on the lists.

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the quiet period did not apply to the removal from the voter rolls of noncitizens who were

improperly registered in the first place. Arcia v. Detzner, 908 F. Supp. 2d 1276, 1281-83 (S.D. Fla.

2012), rev’d, 772 F.3d 1135 (11th Cir. 2014). The court had no occasion to address whether the

Florida program was uniform and nondiscriminatory because private plaintiffs did not bring a

claim under this portion of the NVRA. See id.

       115.    The Florida program and related litigation does not apply to this case. Plaintiffs do

not seek to enjoin Secretary Whitley’s Election Advisory under the NVRA. In addition, Secretary

Whitley issued the advisory well in advance of the NVRA’s quiet period. This is important because

the Election Advisory contemplates an iterative process involving collaboration between the State

and counties to assist counties in fulfilling their investigative role. Unlike the Florida program,

which was accompanied by specific instructions about contacting individuals identified on the list,

the Election Advisory does not mandate an investigation of any voter. The Secretary of State’s

office has acted merely as a conduit of information, in accordance with the office’s constitutional

and statutory mandates. See, e.g., Tex. Const. art. 4, § 21; Tex. Elec. Code §§ 31.001, 31.003-.004.

       116.    Texas law further requires mandatory disclosure of personal information contained

in DPS motor vehicle records in connection with the maintenance of accurate voter rolls. Tex.

Transp. Code § 730.005(9). Pursuant to this legislative directive, Secretary Whitley obtained

information from DPS and disseminated the matching data with specific instructions that the

registrars were to make independent determinations and could “take no action on the voter record

if the voter registrar determines that there is no reason to believe the voter is ineligible.” Election

Advisory at 2 (emphasis added). The Election Advisory simply provides additional information to

voter registrars throughout the State—at the behest of the Legislature—to help election officials




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discharge their obligations to safeguard the integrity of the State’s voter rolls by preventing

ineligible persons from casting votes. The Secretary of State’s actions are lawful.

         117.     Plaintiffs’ are not entitled to a preliminary injunction because they have not shown

a likelihood of success on their First and Fourteenth Amendment claims.

                         2. Plaintiffs’ Voting Rights Act Claims Must Fail. [Garibay]

         118.     Plaintiffs allege that the matching process has a discriminatory effect in violation

of Section 2 of the Voting Rights Act, which proscribes any “voting qualification or prerequisite

to voting or standard, practice, or procedure . . . which results in a denial or abridgement of the

right of any citizen . . . to vote on account of race or color.” 52 U.S.C. § 10301(a). Plaintiffs also

cite in a separate count the general Voting Rights Act provision that requires uniform standards

for voting qualifications. See Garibay Third Am. Compl. ¶¶ 227-231 (citing 52 U.S.C. §

10101(a)(2)(A)). 3 But because Plaintiffs have failed to show that they are likely to succeed on
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these claims, their request for a preliminary injunction should be denied.

         119.     “To prove that a law has a discriminatory effect under Section 2, Plaintiffs must

show not only that the challenged law imposes a burden on minorities, but also that ‘a certain

electoral law, practice, or structure interacts with social and historical conditions to cause an

inequality in the opportunities enjoyed by black and white voters to elect their preferred

representatives.’” Veasey v. Abbott, 830 F.3d 216, 243-44 (5th Cir. 2016) (quoting Thornburg v.

Gingles, 478 U.S. 30, 47 (1986) (internal quotation marks omitted)). The Fifth Circuit has adopted

a two-part framework to evaluate Section 2 “results” claims:



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  To the extent that Plaintiffs are attempting to allege a separate claim from their Voting Rights Act § 2 count, this
provision of the Voting Rights Act does not include a private right of action. See Ne. Ohio Coalition for the Homeless
v. Husted, 837 F.3d 612, 629-30 (6th Cir. 2016). But even if Plaintiffs could maintain a cause of action under 52
U.S.C. § 10101, such claim would fail for the same reasons as all their others—a Complaint based on speculation and
conclusion rather than factual allegations. Accordingly, even though this provision is cited as a separate count, it is
treated alongside the Voting Rights Act § 2 claim.

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              (1) The challenged standard, practice, or procedure must impose a
                  discriminatory burden on members of a protected class, meaning
                  that members of the protected class have less opportunity than other
                  members of the electorate to participate in the political process and
                  to elect representatives of their choice, and

              (2) That burden must in part be caused by or linked to social and
                  historical conditions that have or currently produce discrimination
                  against members of the protected class.
Id. at 244.

        120.     “The first part of this two-part framework inquires about the nature of the burden

imposed and whether it creates a disparate effect in that ‘members of the protected class have less

opportunity than other members of the electorate to participate in the political process and to elect

representatives of their choice’—this encompasses Section 2’s definition of what kinds of burdens

deny or abridge the right to vote.” Id. at 244-45. The second part of the two-part framework

“provides the requisite causal link between the burden on voting rights and the fact that this burden

affects minorities disparately because it interacts with social and historical conditions that have

produced discrimination against minorities currently, in the past, or both.” Id. at 245.

        121.     As discussed in the preceding sections, Plaintiffs failed to introduce evidence that

the matching process imposes a discriminatory burden on them, much less one such that provides

them with less opportunity than other members of the electorate to participate in the political

process or to elect representatives of their choice. Nor have Plaintiffs shown that minorities are

disparately affected by the matching process. Further, Plaintiffs do not offer evidence to connect

each Defendant to their Section 2 claim. Even assuming the existence of a burden, the evidence

does not establish a likely causal link between the purported discriminatory burden on voting rights

and the fact that this burden affects minorities disparately because it interacts with social and

historical conditions that have historically produced discrimination against minorities. Veasey, 830


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F.3d at 244. Because the Plaintiffs fail to show that they are likely to satisfy the required two-part

framework, they are not entitled to a preliminary injunction based on their Voting Rights Act

claims.

                     3. Plaintiffs Have Failed to Establish a Likelihood of Success on Their
                        Claim of a Conspiracy to Interfere with Civil Rights Under 45 U.S.C. §
                        1985. [Garibay]

          122.   A person injured as the result of a conspiracy to interfere with his civil rights may

bring an action under 42 U.S.C. § 1985. Subsection 3 concerns the acts of two or more persons

conspiring to deprive any person of certain civil rights. Suttles v. U.S. Postal Serv., 927 F. Supp.

990, 999-1000 (S.D. Tex. 1996) (citing Holdiness v. Stroud, 808 F.2d 417, 424 (5th Cir.1987)).

Section 1985(3) provides, in pertinent part:

          If two or more persons in any State or Territory conspire . . . for the purpose of
          depriving, either directly or indirectly, any person or class of persons of the equal
          protection of the laws, or of equal privileges and immunities under the laws; . . . in
          any case of conspiracy set forth in this section, if one or more persons engaged
          therein do, or cause to be done, any act in furtherance of the object of such
          conspiracy, whereby another is injured in his person or property, or deprived of
          having and exercising any right or privilege of a citizen of the United States, the
          party so injured or deprived may have an action for the recovery of damages,
          occasioned by such injury or deprivation, against any one or more conspirators.

Suttles, 927 F. Supp. at 1000 (quoting 42 U.S.C. § 1985). To prove liability under 42 U.S.C. §

1985(3), the plaintiff must allege: (1) a conspiracy involving two or more persons; (2) for the

purpose of depriving, either directly or indirectly, a person or class of persons of the equal

protection of the laws; and (3) an act in furtherance of the conspiracy; (4) which causes injury to

a person or property, or a deprivation of any right or privilege of a citizen of the United States. Id.

at 1000-01 (citing United Bhd. of Carpenters & Joiners of Am. v. Scott, 463 U.S. 825, 828-29

(1983)); Hilliard v. Ferguson, 30 F.3d 649, 652-53 (5th Cir. 1994); Deubert v. Gulf Fed. Sav.

Bank, 820 F.2d 754, 757 (5th Cir. 1987). The plaintiff must also prove “some racial, or perhaps



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otherwise class-based, invidiously discriminatory animus behind the conspirators’ action.” Griffin

v. Breckenridge, 403 U.S. 88, 102 (1971); see Hilliard, 30 F.3d at 653 (citing Burns-Toole v.

Byrne, 11 F.3d 1270, 1276 (5th Cir. 1994), cert. denied, 512 U.S. 1207 (1994)); Miss. Women’s

Medical Clinic v. McMillan, 866 F.2d 788, 793 (5th Cir. 1989).

       123.    “In this circuit, we require an allegation of a race-based conspiracy to present a

claim under § 1985(3).” Johnson v. Dowd, 305 F. App’x 221, 224 (5th Cir. 2008) (citing Horaist

v. Doctor’s Hosp. of Opelousas, 255 F.3d 261, 271 (5th Cir. 2001) (internal quotation omitted)).

“Discriminatory purpose . . . implies more than intent as volition or intent as awareness of

consequences.” Bray v. Alexandria Womens Health Clinic, 506 U.S. 263, 271-72 (1993). “It

implies that the decisionmaker . . . selected or reaffirmed a particular course of action at least in

part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Id. at

273. The same principle applies to the “class-based, invidiously discriminatory animus”

requirement of § 1985(3). Id. It does not suffice for the application of § 1985(3) that a protected

right be incidentally affected. Id. at 275. A conspiracy is not for the purpose of denying equal

protection simply because it has an effect upon a protected right—the right must be “aimed at”

and its impairment must be a conscious objective of the enterprise. See id. The “intent to deprive

of a right” requirement demands that the defendant do more than merely be aware of the

deprivation of right that he causes, and more than merely accept it; he must act at least in part for

the very purpose of producing it. Id. at 275-76.

       124.    The record is devoid of any factual support for the Garibay Plaintiffs’ conclusory

assertions that improper or unlawful considerations motivated the Defendants’ conduct. Nor do

Plaintiffs provide evidence sufficient to show a likelihood of success on each of the four elements

required to properly plead a conspiracy claim under § 1985(3), or to show a likelihood that



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Defendants selected or reaffirmed the matching process because of its adverse effects upon

Plaintiffs. That failure is not surprising, as Plaintiffs did not even plead facts showing any of the

Defendants intended to deprive Plaintiffs of their constitutional rights or that they acted at least in

part for the very purpose of producing the alleged deprivation. Accordingly, Plaintiffs’ § 1985

claim cannot support a preliminary injunction. See Johnson, 255 F.3d at 271; Suttles, 927 F. Supp.

at 1002.

                   4. Plaintiffs Have Failed to Establish a Likelihood of Success on Their
                      Fifteenth Amendment Claim. [MOVE]

       125.    The Fifteenth Amendment provides that “[t]he right of citizens of the United States

to vote shall not be denied or abridged by the United States or by any State on account of race,

color, or previous condition of servitude,” and it gives Congress the “power to enforce this article

by appropriate legislation.” Shelby County, Alabama v. Holder, 570 U.S. 529, 536 (2013). The

Amendment is not designed to punish for the past; its purpose is to ensure a better future. Id. at

553 (citing Rice v. Cayetano, 528 U.S. 495, 512 (2000) (“Consistent with the design of the

Constitution, the [Fifteenth] Amendment is cast in fundamental terms, terms transcending the

particular controversy which was the immediate impetus for its enactment.”)). As discussed above,

the MOVE Plaintiffs have not asserted any facts, let alone introduced evidence, to support their

conclusory assertions that discriminatory, non-neutral considerations motivated Defendants’

conduct.

                   5. Plaintiffs Have Failed to Establish a Likelihood of Success on Their Due
                      Process Claims. [MOVE]

       126.    The Due Process Clause of the Fifth Amendment provides that “[n]o person shall .

. . be deprived of life, liberty, or property, without due process of law.” This Court has held that

the Due Process Clause protects individuals against two types of government action. So-called


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“substantive due process” prevents the government from engaging in conduct that “shocks the

conscience,” Rochin v. California, 342 U.S. 165, 172 (1952), or interferes with rights “implicit in

the concept of ordered liberty,” Palko v. Connecticut, 302 U.S. 319, 325-26 (1937). When

government action depriving a person of life, liberty, or property survives substantive due process

scrutiny, it must still be implemented in a fair manner. Mathews v. Eldridge, 424 U.S. 319, 335

(1976). This requirement has traditionally been referred to as “procedural” due process.

                       a. Substantive Due Process
       127.    “Substantive due process ‘bars certain arbitrary, wrongful government actions

regardless of the fairness of the procedures used to implement them.’” Marco Outdoor Adver., Inc.

v. Reg’l Transit Auth., 489 F.3d 669, n.3 (5th Cir. 2007) (quoting Zinermon v. Burch, 494 U.S.

113, 125 (1990) (internal quotations omitted)). “[It] requires only that public officials exercise

professional judgment, in a nonarbitrary and capricious manner, when depriving an individual of

a protected [life, liberty, or] property interest.” Lewis v. Univ. of Tex. Med. Branch at Galveston,

665 F.3d 625, 631 (5th Cir. 2011) (citing Tex. v. Walker, 142 F.3d 813, 819 (5th Cir.1998)).

Accordingly, “[t]o establish a violation of substantive due process, ‘a plaintiff must prove that (1)

he was deprived of a life, liberty, or property interest (2) in an arbitrary or capricious manner.’”

Aragona v. Berry, No. 3:10-CV-1610-G, 2012 WL 467069, at *7 (N.D. Tex. Feb. 14, 2012)

(internal citations omitted).

       128.    In support of their substantive due process claim, the MOVE Plaintiffs merely

allege that “[t]he Secretary arbitrarily prescribed this inadequate opportunity for voters to rebut the

allegations of non-citizenship in apparent violation of Texas Election Code 16.033.” MOVE First

Am. Compl. ¶ 148. However, none of the Plaintiffs plead any facts, much less introduce evidence,

showing that any of the alleged actions taken by the Defendants were arbitrary or rose to such a



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level as to “shock the conscience.” Accordingly, the substantive due process claim does not

support a preliminary injunction.

                       b. Procedural Due Process

       129.    There are “three distinct factors for a court to weigh in considering whether the

procedural due process provided is adequate: ‘First, the private interest that will be affected by the

official action; second, the risk of an erroneous deprivation of such interest through the procedures

used, and the probable value, if any, of additional or substitute procedural safeguards; and finally,

the Government’s interest, including the function involved and the fiscal and administrative

burdens that the additional or substitute procedural requirement would entail.’” Meza v. Livingston,

607 F.3d 392, 402 (5th Cir. 2010). “Procedural due process considers not the justice of a

deprivation, but only the means by which the deprivation was effected.” Caine v. Hardy, 943 F.2d

1406, 1411 (5th Cir. 1991). Thus, the injury that stems from a denial of due process is not the

liberty or property that was taken from the plaintiff, but the fact that it was taken without sufficient

process. Bowlby v. City of Aberdeen, Miss., 681 F.3d 215, 220 (5th Cir. 2012). A due process

injury is therefore complete at the time process is denied. Id. (citing Zinermon v. Burch, 494 U.S.

113, 125 (1990) (stating that “the constitutional violation actionable under § 1983 is complete

when the wrongful action is taken”)).

       130.    In support of their procedural due process claim, the MOVE Plaintiffs assert that

“[t]he process for removing registrants on the [list] from the voter rolls does not provide voters

with notice and an opportunity to be heard at a meaningful time or in a meaningful manner.”

MOVE First Am. Compl. ¶ 146. However, the MOVE Plaintiffs assert that Texas counties have

mailed letters to individuals notifying them of the need to prove their citizenship (notice) and

providing them with an opportunity to provide the requested proof of citizenship (an opportunity



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to be heard), and they also acknowledge that the Secretary of State’s webpage has a form for

individuals to respond to an investigation into their citizenship status. See, e.g., id. ¶¶ 54, 56, 57,

61. Other than baseless, unsubstantiated assertions, the Plaintiffs have not provided any facts

showing such actions do not constitute notice and an opportunity to be heard, or that they are not

meaningful in time or manner. Nor do Plaintiffs offer any evidence that their private interests

outweigh those of the State or that additional statutory procedural safeguards are available.

Critically, Plaintiffs have not pled and cannot plead that any voters have been removed from the

voter rolls as a result of Defendants’ actions. Plaintiffs have not shown that they are likely to

succeed on their procedural due process claim; therefore, the claim does not warrant a preliminary

injunction.

                   6. Plaintiffs Have Failed to Establish a Likelihood of Success on their
                      Claim of Discriminatory Purpose. [MOVE]


       131.    The MOVE Plaintiffs also claim that the State Defendants acted for a

discriminatory purpose. MOVE First Am. Compl. ¶¶ 156-58. Although this count appears to be

merely support for the MOVE Plaintiffs’ other claims, and does not appear to be a separately

alleged cause of action, the allegations unsupported. U.S. citizenship is a requirement for voter

eligibility in Texas. Tex. Elec. Code § 11.002(a)(2). Secretary Whitley has the obligation and

responsibility to ensure that Texas election laws are being enforced throughout the State, including

this citizenship requirement. See, e.g., Tex. Elec. Code § 31.003. The Texas legislature has directed

DPS to provide this data to the Secretary of State. Tex. Transp. Code § 730.005(9). And the

Election Advisory is explicit that the purpose of the matching process was to “produce[] the least

possible impact on eligible Texas voters while fulfilling the responsibility to manage the voter

rolls.” Election Advisory at 1. The information was based on “documents provided by [each]



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person to show they are lawfully present in the United States,” and the stated “goal was to produce

actionable information for voter registrars while producing the least possible impact on eligible

voters.” Election Advisory at 1-2.

       132.    In contrast to these unambiguous statements and statutory requirements, Plaintiffs

have offered nothing other than their own unsupported speculation and conclusory opinions that

all these indicia of good faith should be ignored. According to Plaintiffs, the State Defendants

cannot fulfil their duties to safeguard and secure the validity of elections in Texas as allowed by

law, and state officials are constitutionally prohibited from maintaining the integrity of voter rolls

in a way that the law allows. The Court should reject Plaintiffs’ attempt to secure a preliminary

injunction based on claims of discriminatory purpose, which are wholly devoid of any supporting

factual allegations in the Complaint, let alone evidence in the record.

II.     PLAINTIFFS’ ALLEGED INJURIES ARE NOT IRREPARABLE.

       133.    Defendants’ alleged actions cause no injury—irreparable or otherwise—to

Plaintiffs. Plaintiffs’ theory of injury requires a “speculative chain of possibilities” before any

actual harm may result. Clapper v. Amnesty Int’l U.S.A., 568 U.S. 398, 414 (2013) (rejecting a

standing theory premised on numerous assumptions about how the statute might be enforced).

First, the registrar would have to send a Notice of Examination based on a reasonable belief that

each is ineligible to vote. Tex. Elec. Code § 16.033(b). Registrars are prohibited from unilaterally

removing a voter from the rolls without notice. Tex. Elec. Code § 16.033(c)-(d). And Secretary

Whitley emphasized that the matches should be treated as “weak” matches, and that registrars

could not take action to cancel registrations based on the DPS data alone. Election Advisory at 2.

       134.    Second, the notice would either have to go undelivered—despite the fact that it

must be sent by forwardable mail to the recipient’s listed address and all other addresses known to



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the registrar—or the recipient would have to fail to submit a timely response. Tex. Elec. Code §

16.033(c)-(d). But for notices that are sent and properly delivered, the recipient could respond by

emailing, delivering, mailing, or faxing proof of citizenship to the registrar. Id. § 1.007.

        135.    Third, even if an eligible voter were injured by being removed from the rolls in

error, that injury is easily redressable under Texas law, which provides for immediate

reinstatement following receipt of information establishing proof of citizenship. Id. § 16.037(d).

And if an eligible voter is not reinstated before voting begins, he or she can still vote provisionally

and be reinstated by providing proof of citizenship at any time before the provisional ballots are

counted. Id; see also Tex. Elec. Code § 63.011 (requiring provisional ballots).

        136.    Contrary to Plaintiffs’ conjectural claims of injury, Defendants’ actions and the

matching process described in the Election Advisory do not impair the ability to register or the

right to vote. Rather, the Secretary of State’s office has merely provided additional tools to help

registrars maintain accurate voter rolls. The Election Advisory unequivocally advises the registrar

to “determin[e] whether or not the information provides the registrar with reason to believe the

person is no longer eligible for registration.” Id. at 2. There is no harm from Secretary Whitley

sharing data with the local officials who are responsible under state law for investigating voter

eligibility. Tex. Elec. Code § 16.033. And Attorney General Paxton is not even remotely connected

to any potential injury because the Office of Attorney General has no authority to conduct list

maintenance or remove registered voters from voting lists. See Tex. Elec. Code § 273.001 et seq.

        137.    Plaintiffs claim that the matching process imposes “severe burdens” because

registrars could require some registered voters to submit proof of eligibility. This argument “would

subject virtually every electoral regulation to strict scrutiny, hamper the ability of the States to run

efficient and equitable elections, and compel federal courts to rewrite state electoral codes.”



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Crawford, 553 U.S. at 197. The Supreme Court has already established that ordinary measures

required to prove voting eligibility do not qualify as a substantial burden on the right to vote, or

even represent a significant increase over the usual burdens of voting. Id. at 198-99. Moreover, the

inconvenience associated with gathering official documents is slight when compared with the

necessity to protect “public confidence” in the electoral system by adopting safeguards “to deter

and detect [election] fraud.” Jimmy Carter and James A. Baker III, Building Confidence in U.S.

Elections     §    2.5    at   18   (Sept.   2005),    available   at   https://www.eac.gov/assets/

1/6/Exhibit%20M.PDF. And, as already explained, Texas law provides several statutory safety

valves to ensure that eligible voters who are removed from the rolls in error can be reinstated

immediately at any time before provisional votes are counted.

       138.       None of Plaintiffs’ evidence changes that, and Plaintiffs have not established that

they will be irreparably injured absent a preliminary injunction. Thus, the Election Advisory will

not cause irreparable harm to any of voters, and there is no need for the “extraordinary remedy” of

a preliminary injunction. Steen, 732 F.3d at 386.

III.    INJUNCTIVE RELIEF WOULD IMPOSE A SUBSTANTIAL BURDEN ON
        DEFENDANTS AND WOULD SIGNIFICANTLY COMPROMISE THE
        PUBLIC’S INTEREST IN THE INTEGRITY OF THE ELECTORAL PROCESS.

       139.       Finally, the Court must consider whether Plaintiffs’ “substantial injury outweighs

the threatened harm to the party to be enjoined” and whether “granting the preliminary injunction

will not disserve the public interest.” Steen, 732 F.3d at 386. Both factors weigh against the entry

of a preliminary injunction as Plaintiffs’ requested relief would both impose a severe burden on

Defendants and disserve the public interest. None of Plaintiffs’ evidence can establish otherwise,

which is a sufficient reason for the Court to deny Plaintiffs’ motion. Id.; Lakey, 667 F.3d at 574.




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       140.    U.S. citizenship is a requirement for voter eligibility in Texas. Tex. Elec. Code §

11.002(a)(2). Secretary Whitley has an obligation to ensure that Texas election laws are being

enforced throughout the State, including the citizenship requirement. See, e.g., Tex. Elec. Code §

31.003. The Texas legislature directed DPS to provide data to the Secretary of State. Tex. Transp.

Code § 730.005(9). But according to Plaintiffs, the public interest would be served by preventing

Defendants from fulfilling their duties to safeguard the validity of elections in Texas, and by

prohibiting Defendants from maintaining the integrity of voter rolls. Plaintiffs’ position is plainly

at odds with the democratically expressed will of the people as evidenced by state law.

       141.    Moreover, Plaintiffs’ requested injunction is simply unworkable. The matching

process outlined in the Election Advisory is an iterative and collaborative process. Halting it now

would end that collaboration and disrupt the State’s list maintenance activities, which are

authorized by law. Plaintiffs ask this Court to require Defendants to make new, unknown public

statements and “rescind” previous ones, creating more confusion and disruption. Plaintiffs also ask

this Court to order Defendants to take actions in excess of their statutory authority—direct the

activities of voter registrars, local officials with sole authority and responsibility for removing

individuals from voter rolls for non-citizenship. And Plaintiffs ask this Court to prohibit the State’s

election officials from acting on any information provided pursuant to the Election Advisory’s

matching process, even if it means knowingly allowing unqualified voters to remain on the rolls.

Such a result would impose an intolerable burden on Defendants and the State of Texas and

disserve the public interest in maintaining the integrity of the democratic process.

                                               Respectfully submitted.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of March, 2019, the foregoing Defendants Texas

Secretary of State David Whitley, Texas Attorney General Ken Paxton, Texas Governor Greg

Abbott, and Keith Ingram’s Proposed Findings of Fact and Conclusions of Law was Electronically

filed with the Clerk of the Court using the CM/ECF system and served on all attorney(s) and/or

parties of record, via the CM/ECF service and/or via electronic mail.


                                                    /s/ Patrick K. Sweeten
                                                    PATRICK K. SWEETEN




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